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                             EXHIBIT F
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 22-cv-2680-NYW-SKC


   ROCKY MOUNTAIN GUN OWNERS,
   NATIONAL ASSOCIATION FOR GUN RIGHTS,
   CHARLES BRADLEY WALKER,
   BRYAN LAFONTE,
   GORDON MADONNA,
   JAMES MICHAEL JONES, and
   MARTIN CARTER KEHOE,

          Plaintiffs,

   v.

   THE TOWN OF SUPERIOR,
   CITY OF LOUISVILLE, COLORADO,
   CITY OF BOULDER, COLORADO, and
   BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,


          Defendants.


                                     Declaration of Lucy P. Allen


          I, Lucy P. Allen, declare as follows:

          1.     I am over the age of 18 years of age and competent to testify to the matters stated
   below and do so based on my personal knowledge.

           2.     Attachment A is a true and accurate copy of my expert report in the above-
   captioned matter. It contains the opinions to which I would testify if called upon as a witness in
   the above-captioned matter, and I declare under penalty of perjury that it is true and correct to the
   best of my knowledge.

         I declare under penalty of perjury that the foregoing is true and correct to the best of my
   knowledge.

         Executed on this 12 day of October, 2023
         at New York, NY.


                                                                 Lucy P. Allen
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

      Civil Action No. 22-cv-2680


      ROCKY MOUNTAIN GUN OWNERS,
      NATIONAL ASSOCIATION FOR GUN RIGHTS,
      CHARLES BRADLEY WALKER,
      BRYAN LAFONTE,
      CRAIG WRIGHT,
      GORDON MADONNA,
      JAMES MICHAEL JONES, and
      MARTIN CARTER KEHOE,

            Plaintiffs,

      v.

      THE TOWN OF SUPERIOR,
      CITY OF LOUISVILLE, COLORADO,
      CITY OF BOULDER, COLORADO, and
      BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,



            Defendants.



                            EXPERT REPORT OF LUCY P. ALLEN


                                       May 5, 2023
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      I.         SCOPE OF ASSIGNMENT

                 1.       I am over the age of eighteen (18) years, competent to testify to the

      matters contained in this report, and testify based on my personal knowledge and

      information. I have been asked by the Counsel for the Town of Superior, Colorado; the

      City of Louisville, Colorado; the City of Boulder, Colorado; and the Board of County

      Commissioners of Boulder County, Colorado, to address the following issues: (a) the

      number of rounds of ammunition fired by individuals using a gun in self-defense; 1 and

      (b) the outcomes when assault weapons and large-capacity magazines are used in public

      mass shootings, including the associated number of casualties.


      II.        QUALIFICATIONS AND REMUNERATION

                 2.       I am a Managing Director of NERA Economic Consulting (“NERA”), a

      member of NERA’s Securities and Finance Practice and Chair of NERA’s Product

      Liability and Mass Torts Practice. NERA provides practical economic advice related to

      highly complex business and legal issues arising from competition, regulation, public

      policy, strategy, finance, and litigation. NERA was established in 1961 and now employs

      approximately 500 people in more than 20 offices worldwide.

                 3.       In my over 25 years at NERA, I have been engaged as an economic

      consultant or expert witness in numerous projects involving economics and statistics. I

      have been qualified as an expert and testified in court on various economic and statistical

      issues relating to the flow of guns into the criminal market. I have testified at trials in

      Federal and State Courts, before the New York City Council Public Safety Committee,



      1
            I have also been asked to analyze the percent of incidents in which rifles were used in self-defense
            according to The Heritage Foundation’s “Defensive Gun Uses in the U.S.” database.


                                                              1
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      the American Arbitration Association and the Judicial Arbitration Mediation Service, as

      well as in depositions.

                4.       I have an A.B. from Stanford University, an M.B.A. from Yale University,

      and M.A. and M. Phil. degrees in Economics, also from Yale University. Prior to joining

      NERA, I was an Economist for both President George H. W. Bush’s and President Bill

      Clinton’s Council of Economic Advisers. My resume with recent publications and

      testifying experience is included as Exhibit A.

                5.       NERA is being compensated for time spent by me and my team at

      standard billing rates and for out-of-pocket expenses at cost. NERA currently bills for my

      time at $1,150 per hour. NERA’s fees are not in any way contingent upon the content of

      my opinions or the outcome of this matter.

      III.      USE OF GUNS IN SELF-DEFENSE

          A. The number of rounds used by individuals in self-defense

                6.       Plaintiffs claim that the large capacity magazines (magazines capable of

      holding more than 10 rounds) and assault weapons covered by the challenged ordinances

      in Colorado2 are commonly used for lawful purposes, including for self-defense. 3,4

                7.       The number of rounds commonly needed by individuals to defend

      themselves cannot be practically or ethically determined with controlled scientific


      2
           The challenged ordinances are: Superior, Colorado, Code Chapter 10, Article IX, as adopted June 7,
           2022, in Ordinance No. O-9; Boulder, Colorado, Revised Code Title 5, Chapter 8, as adopted June 7,
           2022, in Ordinance Nos. 8494, 8525-29; Boulder County, Colorado, Ordinance No. 2022-5, as adopted
           August 2, 2022; and Louisville, Colorado, Code Title 9, Chapter VIII, as adopted June 7, 2022, in
           Ordinance No. 1831-2022 (collectively the “Colorado Ordinances”). See Rocky Mountain Gun
           Owners’ Complaint, filed October 12, 2022 (“Complaint”), ¶16.
      3
           It is my understanding that the Colorado Ordinances define “assault weapons” similarly. Plaintiffs also
           state that the Colorado Ordinances have “similar definitions” of “statutory terms,” including “assault
           weapon.” See Complaint, ¶17.
      4
           See, for example, Complaint, ¶¶ 1-2, 19-33, 45-46, 54.



                                                            2
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      experiments and there is no source that systematically tracks or maintains data on the

      number of rounds fired by individuals in self-defense. Due to these limitations, I have

      analyzed available data sources to estimate the number of rounds fired by individuals to

      defend themselves. In particular, I have analyzed data from the National Rifle

      Association (“NRA”) Institute for Legislative Action, as well as my own study of news

      reports on incidents of self-defense with a firearm. In all, I have analyzed almost 1,000

      incidents of self-defense with a firearm and found that it is extremely rare for a person,

      when using a firearm in self-defense, to fire more than 10 rounds.

            1.        Analysis of the NRA Armed Citizen database

                 8.       The NRA maintains a database of “Armed Citizen” stories describing

      private citizens who have successfully defended themselves, or others, using a firearm

      (“NRA Armed Citizen database”). According to the NRA, the “Armed Citizen” stories

      “highlight accounts of law-abiding gun owners in America using their Second

      Amendment rights to defend self, home and family.”5 Although the methodology used to

      compile the NRA Armed Citizen database of stories is not explicitly detailed by the

      NRA, the NRA Armed Citizen database is a useful data source in this matter for at least

      three reasons. First, the Armed Citizen database was the largest collection of accounts of

      citizen self-defense compiled by others that I was able to find. 6 Second, the incidents

      listed in the Armed Citizen database highlight the very conduct that Plaintiffs claim the

      Colorado Ordinances would impede (i.e., the use of firearms by law-abiding citizens for



      5
          NRA Institute for Legislative Action, Armed Citizens, https://www.nraila.org/gun-laws/armed-citizen/,
          accessed May 28, 2017.
      6
          Note that in 2020, after the time my research was conducted, The Heritage Foundation began an online
          database of its own sample of defensive gun use incidents
          (https://datavisualizations.heritage.org/firearms/defensive-gun-uses-in-the-us).



                                                          3
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      self-defense).7 Third, the Armed Citizen database is compiled by an entity that actively

      opposes restrictions on magazine capacity and restrictions on the possession and use of

      firearms in general.8 In light of the positions taken by the entity compiling the data, I

      would expect that any selection bias would be in favor of stories that put use of guns in

      self-defense in the best possible light and might highlight the apparent need of guns

      and/or multiple rounds in self-defense incidents.

                9.       My team and I performed an analysis of incidents in the NRA Armed

      Citizen database that occurred between January 2011 and May 2017. 9 For each incident,

      the city/county, state, venue (whether the incident occurred on the street, in the home, or

      elsewhere) and the number of shots fired were tabulated. 10 The information was gathered

      for each incident from both the NRA synopsis and, where available, an additional news

      story. An additional news story was found for over 95% of the incidents in the NRA

      Armed Citizen database.

                10.      According to this analysis of incidents in the NRA Armed Citizen

      database, it is extremely rare for a person, when using firearms in self-defense, to fire

      more than 10 rounds. Out of 736 incidents, there were 2 incidents (0.3% of all incidents),




      7
           Complaint, ¶¶ 1-2, 19-33, 45-46, 54.
      8
           See, for example, NRA Civil Rights Defense Fund website, http://www.nradefensefund.org/current-
           litigation, accessed October 12, 2018.
      9
           My collection and coding of the NRA Armed Citizen stories was last performed in mid-2017.
      10
           The following incidents were excluded from the analysis: (1) duplicate incidents, (2) wild animal
           attacks, and (3) one incident where the supposed victim later pleaded guilty to covering up a murder.
           When the exact number of shots fired was not specified, we used the average for the most relevant
           incidents with known number of shots. For example, if the story stated that “shots were fired” this
           would indicate that at least two shots were fired and thus we used the average number of shots fired in
           all incidents in which two or more shots were fired and the number of shots was specified.



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      in which the defender was reported to have fired more than 10 bullets. 11 Defenders fired

      2.2 shots on average.12 In 18.2% of incidents, the defender did not fire any shots. These

      incidents highlight the fact that in many instances defenders are able to defend

      themselves without firing any shots. For example, according to one of the incidents in the

      NRA Armed Citizen Database:


                “A man entered a Shell station in New Orleans, La. and attempted to rob a
                cashier, by claiming he was carrying a gun. The cashier responded by retrieving a
                gun and leveling it at the thief, prompting the criminal to flee. (The Times
                Picayune, New Orleans, La. 09/02/15)”13

                11.      For incidents occurring in the home (56% of total), defenders fired an

      average of 2.1 shots, and fired no shots in 16.1% of incidents. For incidents occurring

      outside the home (44%) of total, defenders fired an average of 2.2 shots, and fired no

      shots in 20.9% of incidents.14 The following table summarizes these findings:




      11
           Note that these two incidents with more than 10 bullets fired by the defender were added to the NRA
           Armed Citizen database in 2016 and 2017 after an earlier analysis that I had conducted of the database
           had been submitted to and cited by the Court in Kolbe v. O'Malley, Case No. CCB-13-2841 (Dkt. 79).
           In addition, according to the news stories on these two incidents, the defenders did not appear to need to
           fire more than 10 shots to defend themselves.
      12
           Note that the analysis is focused on shots fired when using a gun in self-defense and therefore the
           average includes instances when no shots are fired. If one calculates the average excluding incidents of
           self defense with a gun without firing shots, the average is still low, 2.6 shots when at least one shot is
           fired.
      13
           “Gas station clerk scares off robber,” NRA-ILA Armed Citizen, September 9, 2015.
      14
           A separate study of incidents in the NRA Armed Citizen database for an earlier period (the five-year
           period from 1997 through 2001) found similar results. Specifically, this study found that, on average,
           2.2 shots were fired by defenders and that in 28% of incidents of armed citizens defending themselves
           the individuals fired no shots at all. See, Claude Werner, “The Armed Citizen - A Five Year Analysis,”
           https://tacticalprofessor.files.wordpress.com/2014/12/tac-5-year-w-tables.pdf, accessed January 26,
           2023.



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                                 Number of Shots Fired in Self-Defense
                       Based on NRA Armed Citizen Incidents in the United States
                                     January 2011 - May 2017

                                                                        Shots Fired by Individual in Self-Defense

                                                                   Overall        Incidents in Home       Outside the Home


             Average Number of Shots Fired                              2.2                  2.1                       2.2


             Number of Incidents with No Shots Fired                    134                   66                       68
             Percent of Incidents with No Shots Fired               18.2%                16.1%                   20.9%


             Number of Incidents with >10 Shots Fired                     2                    2                        0
             Percent of Incidents with >10 Shots Fired                0.3%                 0.5%                    0.0%

           Notes and Sources:
             Data from NRA Armed Citizen database covering 736 incidents (of which 411 were in the home) from
             January 2011 through May 2017. Excludes duplicate incidents, wild animal attacks and one incident where
             the supposed victim later pleaded guilty to covering up a murder.




                 12.      We also performed the same analysis of the NRA Armed Citizen database

     limited to the five incidents that occurred in Colorado.15 According to this analysis,

     defenders in Colorado did not fire any shots (and thus there were no incidents in which

     the defender was reported to have fired more than 10 bullets).

            2.     Analysis of Factiva news reports

                 13.      In addition to our analysis of incidents in the NRA Armed Citizen

     database, we performed a systematic, scientific study of news reports on incidents of self-

     defense with a firearm in the home, focusing on the same types of incidents as the NRA

     stories and covering the same time period. 16



     15
          There were 5 incidents in Colorado (1 of which was in the home) from January 2011 through May
          2017.
     16
          This analysis was initially conducted to research issues regarding self-defense in the home, which was a
          focus of federal Second Amendment jurisprudence before the 2022 New York State Rifle & Pistol
          Association v. Bruen Supreme Court decision. The analysis of the NRA Armed Citizen incidents


                                                                    6
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               14.      To identify relevant news stories to include in our analysis, we performed

     a comprehensive search of published news stories using Factiva, an online news reporting

     service and archive owned by Dow Jones, Inc. that aggregates news content from nearly

     33,000 sources.17 The search was designed to return stories about the types of incidents

     that are the focus of the NRA Armed Citizen database and that Plaintiffs claim the

     Colorado Ordinances impede - in particular, the use of firearms for self-defense. 18 The

     search identified all stories that contained the following keywords in the headline or lead

     paragraph: one or more words from “gun,” “shot,” “shoot,” “fire,” or “arm” (including

     variations on these keywords, such as “shooting” or “armed”), plus one or more words

     from “broke in,” “break in,” “broken into,” “breaking into,” “burglar,” “intruder,” or

     “invader” (including variations on these keywords) and one or more words from “home,”

     “apartment,” or “property” (including variations on these keywords). 19 The search criteria

     matched approximately 90% of the NRA stories on self-defense with a firearm in the

     home, and an analysis of the 10% of stories that are not returned by the search shows that

     the typical number of shots fired in these incidents was no different than in other

     incidents. The search covered the same period used in our analysis of incidents in the

     NRA Armed Citizen database (January 2011 to May 2017). The region for the Factiva


          described above indicates that the number of shots fired in self-defense outside the home is similar to
          those inside the home.
     17
          Factiva is often used for academic research. For example, a search for the term ”Factiva” on Google
          Scholar yields over 28,000 results. As another example, a search on Westlaw yields at least 83 expert
          reports that conducted news searches using Factiva.
     18
          NRA Institute for Legislative Action, Armed Citizens, https://www.nraila.org/gun-laws/armed-citizen/,
          accessed May 28, 2017. See, also, Complaint, ¶¶ 1-2, 19-33, 45-46, 54.
     19
          The precise search string used was: (gun* or shot* or shoot* or fire* or arm*) and (“broke in” or ”break
          in” or “broken into” or “breaking into” or burglar* or intrud* or inva*) and (home* or ”apartment” or
          “property”). An asterisk denotes a wildcard, meaning the search includes words which have any letters
          in place of the asterisk. For example, a search for shoot* would return results including “shoots,”
          “shooter” and “shooting.” The search excluded duplicate stories classified as “similar” on Factiva.



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     search was set to “United States.” The search returned approximately 35,000 stories for

     the period January 2011 to May 2017.20

               15.      Using a random number generator, a random sample of 200 stories was

     selected for each calendar year, yielding 1,400 stories in total. 21 These 1,400 stories were

     reviewed to identify those stories that were relevant to the analysis, i.e., incidents of self-

     defense with a firearm in or near the home. This methodology yielded a random selection

     of 200 news stories describing incidents of self-defense with a firearm in the home out of

     a population of approximately 4,800 relevant stories. 22 Thus, out of the over 70 million

     news stories aggregated by Factiva between January 2011 and May 2017, approximately

     4,800 news stories were on incidents of self-defense with a firearm in the home. We

     analyzed a random selection of 200 of these stories.

               16.      For each news story, the city/county, state and number of shots fired were

     tabulated. When tabulating the number of shots fired, we used the same methodology as

     we used to analyze stories in the NRA Armed Citizen database. 23 We then identified


     20
          The effect of using alternative keywords was considered. For example, removing the second category
          (“broke in” or “break in” or “broken into” or “breaking into” or burglar* or intrud* or inva*) and
          including incidents in which the assailant was already inside the home and/or was known to the victim
          was considered. A priori, there was no reason to believe that a larger number of shots would be used in
          these incidents and based on an analysis of the NRA stories we found that the number of shots fired in
          incidents when defending against someone already in the home was not different than those with an
          intruder.
     21
          The random numbers were generated by sampling with replacement.
     22
          The approximately 4,800 relevant news stories were estimated by calculating the proportion of relevant
          news stories from the 200 randomly selected stories each year and applying that proportion to the
          number of results returned by the search for each year of the analysis. For example, in 2017, 33 out of
          200 (17%) randomly selected news stories involved incidents of self-defense with a firearm in the
          home. Applying that proportion to the 1,595 results from the Factiva search in 2017 yields 263 relevant
          news stories in 2017. This process was repeated every year to arrive at a total of 4,841 relevant news
          stories from 2011-2017.
     23
          When the exact number of shots fired was not specified, we used the average for the most relevant
          incidents with known number of shots. For example, if the story stated that “shots were fired” this
          would indicate that at least two shots were fired and thus we used the average number of shots fired in
          all incidents in which two or more shots were fired and the number of shots was specified.


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     other stories describing the same incident on Factiva based on the date, location and other

     identifying information, and recorded the number of times that each incident was covered

     by Factiva news stories.

               17.      To determine the average number of shots fired per incident, we first

     determined the average number of shots fired per story and then analyzed the number of

     stories per incident. According to our study of a random selection from approximately

     4,800 relevant stories on Factiva describing incidents of self-defense with a firearm in the

     home, the average number of shots fired per story was 2.61. This is not a measure of the

     average shots fired per incident, however, because the number of stories covering an

     incident varies, and the variation is not independent of the number of shots fired. We

     found that there was a statistically significant relationship between the number of shots

     fired in an incident and the number of news stories covering the incident. 24 We found that

     on average the more shots fired in a defensive gun use incident, the greater the number of

     stories covering an incident. For example, as shown in the table below, we found that

     incidents in Factiva news stories with zero shots fired were covered on average by 1.8

     news stories, while incidents with six or more shots fired were covered on average by

     10.4 different news stories.




     24
          Based on a linear regression of the number of news stories as a function of the number of shots fired,
          the results were statistically significant at the 1% level (more stringent than the 5% level commonly
          used by academics and accepted by courts. See, for example, Freedman, David A., and David H. Kaye,
          “Reference Guide on Statistics,” Reference Manual on Scientific Evidence (Washington, D.C.: The
          National Academies Press, 3rd ed., 2011), pp. 211-302, and Fisher, Franklin M., “Multiple Regression
          in Legal Proceedings,” 80 Columbia Law Review 702 (1980).)



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                    Average Number of News Stories by Number of Shots Fired
                   In Factiva Stories on Incidents of Self-Defense with a Firearm
                                      January 2011 - May 2017

                                  Number of Shots Fired                    Average Number
                                     By Defender                            of News Stories

                                                   0                                1.8
                                              1 to 2                                2.8
                                              3 to 5                                3.8
                                          6 or more                                10.4

                             Notes and Sources:
                              Based on stories describing defensive gun use in a random selection of Factiva
                              stories between 2011 to May 2017 using the search string: (gun* or shot* or
                              shoot* or fire* or arm*) and ("broke in" or "break in" or "broken into" or
                              "breaking into" or burglar* or intrud* or inva*) and (home* or "apartment" or
                              "property"), with region set to "United States" and excluding duplicate stories
                              classified as "similar" on Factiva. Methodology for tabulation of shots fired as
                              per footnote 23.


               18.      After adjusting for this disparity in news coverage, we find that the

     average number of shots fired per incident covered is 2.34. 25 Note that this adjustment

     does not take into account the fact that some defensive gun use incidents may not be

     picked up by any news story. Given the observed relationship that there are more news

     stories when there are more shots fired, one would expect that the incidents that are not

     written about would on average have fewer shots than those with news stories. Therefore,

     25
          The adjustment reflects the probability that a news story on a particular incident would be selected at
          random from the total population of news stories on incidents of self-defense with a firearm in the
          home. The formula used for the adjustment is:
                                   𝑅
          ∑     𝑆ℎ𝑜𝑡𝑠 𝐹𝑖𝑟𝑒𝑑 ×
                                   𝐶
                         𝑅
                   ∑
                         𝐶

          where:
          𝑛 = random selection of news stories on incidents of self-defense with a firearm in the home
          𝑅 = number of search results on Factiva in the calendar year of incident 𝑖
          𝐶 = number of news stories covering incident 𝑖



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     the expectation is that these results, even after the adjustment, are biased upward (i.e.,

     estimating too high an average number of shots and underestimating the percent of

     incidents in which no shots were fired).

                19.       As shown in the table below, according to the study of Factiva news

     stories, in 11.6% of incidents the defender did not fire any shots, and simply threatened

     the offender with a gun. In 97.3% of incidents the defender fired five or fewer shots.

     There were no incidents where the defender was reported to have fired more than 10

     bullets.

                      Number of Shots Fired in Self-Defense in the Home
                      Based on Random Selection of Articles from Factiva
                                                 January 2011 - May 2017

                                                                                                  Incidents in
                                                                                                   the Home

                        Estimated population of news reports in Factiva                               4,841
                        on self-defense with a firearm in the home

                        Random selection of news reports                                                200

                        Average Number of Shots Fired                                                   2.34
                        Median Number of Shots Fired                                                    2.03

                        Number of Incidents with No Shots Fired                                           23
                        Percent of Incidents with No Shots Fired                                      11.6%

                        Number of Incidents with <=5 Shots Fired                                        195
                        Percent of Incidents with <=5 Shots Fired                                     97.3%

                        Number of Incidents with >10 Shots Fired                                          0
                        Percent of Incidents with >10 Shots Fired                                      0.0%

                      Notes and Sources:
                        Based on news stories describing defensive gun use in a random selection of Factiva
                        stories 2011 to May 2017 using search string (gun* or shot* or shoot* or fire* or
                        arm*) and ("broke in" or "break in" or "broken into" or "breaking into" or burglar*
                        or intrud* or inva*) and (home* or "apartment" or "property") with region set to
                        United States and excluding duplicate stories classified as "similar."
                        Calculated using weights reflecting the probability that a news story on a particular
                        incident would be selected at random from the total population of news stories on
                        incidents of self-defense with a firearm in the home.




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                20.      In sum, an analysis of incidents in the NRA Armed Citizen database, as

     well as our own study of a random sample from approximately 4,800 news stories

     describing incidents of self-defense with a firearm, indicates that it is extremely rare for a

     person, when using a firearm in self-defense, to fire more than 10 rounds. In particular, I

     have analyzed almost 1,000 incidents of self-defense (736 incidents from the NRA

     Armed Citizen database and 200 stories from Factiva) and in only 2 incidents were more

     than 10 rounds used.26


          B. Percent of incidents in which rifles were used in self-defense according to the
             Heritage Defensive Gun Uses Database

                21.      I have been asked to analyze The Heritage Foundation’s “Defensive Gun

     Uses in the U.S.” database (“Heritage DGU Database”), a database of defensive gun

     incidents that was first published after my research on the number of rounds used by

     individuals in self-defense was performed. 27 In particular, I have been asked to analyze

     the percent of incidents in which rifles were used in self-defense according to the

     Heritage DGU Database. The analysis of the Heritage DGU Database indicates that it is

     rare for a rifle to be used in self-defense.

                22.      The Heritage Foundation is a think tank focused on “formulat[ing] and

     promot[ing] public policies based on the principles of free enterprise, limited

     government, individual freedom, traditional American values, and a strong national




     26
           As discussed above, the two incidents with more than 10 shots fired were added to the NRA Armed
           Citizen database after an earlier analysis that I had conducted of the database in a different case.
           Moreover, according to the news stories on these two incidents, the defenders did not appear to need to
           fire more than 10 shots to defend themselves.
     27
           “Defensive Gun Uses in the U.S.,” The Heritage Foundation, as of October 7, 2022,
           https://datavisualizations.heritage.org/firearms/defensive-gun-uses-in-the-us.



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     defense.”28 According to The Heritage Foundation, “[t]he right of the people to keep and

     bear arms is a fundamental part of American liberty, serving as an important individual

     defense against crime and a collective defense against tyranny.” 29

                23.     In April 2020, The Heritage Foundation began publishing and periodically

     updating a database of news stories describing incidents in the U.S. in which individuals

     purportedly defended themselves using firearms. 30 The Heritage Foundation notes that its

     database is not comprehensive but meant to “highlight” stories of successful self-

     defense.31,32 As a result, one would expect the Heritage DGU Database to be more likely

     to identify successful uses of rifles in self-defense than a randomized review of news

     stories.

                24.     As of October 7, 2022, the Heritage DGU Database included 2,714

     incidents from January 1, 2019 through October 6, 2022. 33 The Heritage DGU Database

     codes the following information for each incident: 34

                       Date of the incident;
                       Website link to the news story;
                       Location (city and state);
                       Context (e.g., domestic violence, home invasion, robbery, etc.);
                       Whether the defender had a concealed-carry permit;
                       Whether there were multiple assailants;


     28
          “About Heritage,” The Heritage Foundation, https://www.heritage.org/about-heritage/mission.
     29
          “Firearms,” The Heritage Foundation, https://www.heritage.org/firearms.
     30
          “Defensive Gun Uses in the U.S.,” The Heritage Foundation.
     31
          “Defensive Gun Uses in the U.S.,” The Heritage Foundation.
     32
          Note that a review of the news stories cited in the database indicates that a number of the incidents may
          not involve individuals defending themselves. For example, in one incident (“Two Burglary Suspects
          Caught By Victim’s Brother And Friend, Held At Gunpoint For Police,” 5NewsOnline, February 11,
          2019), a homeowner’s brother and friend appear to have found and apprehended burglars on the
          roadside.
     33
          “Defensive Gun Uses in the U.S.,” The Heritage Foundation.
     34
          “Defensive Gun Uses in the U.S.,” The Heritage Foundation.



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                       Whether shots were fired; and
                       Firearm type (handgun, shotgun, rifle, pellet rifle, long gun, or
                        unknown).35

               25.      I performed an analysis of all 2,714 incidents in the Heritage DGU

     Database as of October 7, 2022 to determine what number and percent of the incidents

     involved a rifle. I found there were 51 incidents indicating a rifle was involved. These 51

     incidents represent 2% of all incidents in the database and 4% of incidents with a known

     gun type.36 The following table shows the breakdown of incidents by coded firearm type

     for the 2,714 incidents.




     35
          A review of the data and linked news stories from the Heritage DGU Database indicates that the firearm
          type corresponds to the firearm associated with the defender.
     36
          This analysis is based on The Heritage Foundation’s coding of these incidents. We have not
          independently verified the coding of these incidents.



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                                       The Heritage Foundation
                                      Defensive Gun Uses Database

                                                       1
                      Firearm Type         Incidents        % of Total     % of Known
                               (1)              (2)             (3)               (4)


                           Handgun             1,113            41%              90%
                           Shotgun                78             3%               6%
                           Rifle                  51             2%               4%
                           Long Gun                1             0%               0%
                           Pellet Rifle            1             0%               0%
                           Unknown             1,473            54%
                           Total known:        1,241
                                  Total:       2,714

                       Source:
                         "Defensive Gun Uses in the U.S.," The Heritage Foundation .
                           Data as of October 7, 2022.
                       1
                           Note that three incidents are coded as having more than one
                           firearm type and thus the sum by firearm type is larger than
                           the total number of incidents.


               26.     I conducted the same analysis of the Heritage DGU Database excluding

     incidents that occurred in states that had restrictions on assault weapons in 2022. In

     particular, I excluded incidents in California, Connecticut, Hawaii, Maryland,

     Massachusetts, New Jersey, and New York, as well as Washington D.C. 37 In states

     without assault weapons restrictions, the Heritage DGU Database has 48 incidents

     indicating a rifle was involved. These 48 incidents represent 2% of incidents in these

     states and 4% of incidents with a known gun type in these states. The table below shows

     37
          See, “Assault Weapons,” Giffords Law Center, https://giffords.org/lawcenter/gun-laws/policy-
          areas/hardware-ammunition/assault-weapons/. Delaware is not excluded since restrictions in Delaware
          were enacted in June 2022. See, “Governor Carney Signs Package of Gun Safety Legislation,”
          Delaware.gov, June 30, 2022, https://news.delaware.gov/2022/06/30/governor-carney-signs-package-
          of-gun-safety-legislation/.



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     the breakdown of incidents by coded firearm type for states that do not restrict assault

     weapons.

                                          The Heritage Foundation
                                        Defensive Gun Uses Database
                                 States Without Assault Weapon Restrictions

                                                             1
                             Firearm Type         Incidents       % of Total     % of Known
                                     (1)              (2)             (3)             (4)


                                 Handgun             1,033            41%             90%
                                 Shotgun                63             3%              6%
                                 Rifle                  48             2%              4%
                                 Long Gun                0             0%              0%
                                 Pellet Rifle            1             0%              0%
                                 Unknown             1,357            54%
                                 Total known:        1,142
                                        Total:       2,499

                             Source:
                               "Defensive Gun Uses in the U.S.," The Heritage Foundation.
                               Data as of October 7, 2022. Excludes the following states
                                 with assault weapon restrictions: California, Connecticut,
                                 Hawaii, Maryland, Massachusetts, New Jersey, and New York
                                 as well as Washington D.C. Classification from Giffords
                                 Law Center. Incidents in Delaware not excluded as
                                 restrictions were enacted in June 2022.
                             1
                                 Note that three incidents are coded as having more than one
                                 firearm type and thus the sum of the individual firearm
                                 types is larger than the total number of incidents.




     IV.       PUBLIC MASS SHOOTINGS

               27.      We analyzed the use of assault weapons 38 and large-capacity magazines in

     public mass shootings using four sources for identifying public mass shootings: Mother


     38
          My analysis is based on the definition of assault weapons (“Assault Weapons”) provided by California
          law, specifically: California Penal Code sections 30510 and 30515, and California Code of Regulations,
          title 11, section 5499. California law defines Assault Weapons based on either their “make and model”
          or on certain “features.” See, for example, California Department of Justice: “What is considered an


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     Jones,39 the Citizens Crime Commission of New York City, 40 The Washington Post41 and

     The Violence Project. 42,43 The analysis focused on public mass shootings because it is

     my understanding that the defendant cities and counties are concerned about public mass

     shootings and enacted the challenged ordinances, in part, to address the problem of public

     mass shootings.44

               28.      The type of incident considered a mass shooting is generally consistent

     across the four sources. In particular, all four sources consider an event a mass shooting if




          assault weapon under California law?” and “What are AK and AR-15 series weapons?”
          https://oag.ca.gov/firearms/regagunfaqs, accessed October 25, 2018.
     39
          “US Mass Shootings, 1982-2022: Data From Mother Jones’ Investigation,” Mother Jones, updated
          November 23, 2022, http://www.motherjones.com/politics/2012/12/mass-shootings-mother-jones-full-
          data.
     40
          “Mayhem Multiplied: Mass Shooters and Assault Weapons,” Citizens Crime Commission of New York
          City, February 2018 update. Additional details on the mass shootings were obtained from an earlier
          source by the Citizens Crime Commission. “Mass Shooting Incidents in America (1984-2012),”
          Citizens Crime Commission of New York City, http://www.nycrimecommission.org/mass-shooting-
          incidents-america.php, accessed June 1, 2017.
     41
          “The terrible numbers that grow with each mass shooting,” The Washington Post, updated May 12,
          2021.
     42
          “Mass Shooter Database,” The Violence Project, https://www.theviolenceproject.org/mass-shooter-
          database/, updated May 14, 2022.
     43
          When I began research in 2013 on mass shootings, I found Mother Jones and Citizens Crime
          Commission to maintain the most comprehensive lists of relevant mass shootings. More recently, two
          additional sources, The Washington Post and The Violence Project, have compiled lists of public mass
          shootings. The Violence Project began work on its mass shootings database in September 2017 and its
          database first went online in November 2019, while The Washington Post first published its mass
          shootings database on February 14, 2018. There is substantial overlap between the mass shootings in all
          four sources. For example, the Mother Jones data contains 93% of the mass shootings in the Citizens
          Crime Commission data for the years covered by both data sources, 1984 to 2016, while The
          Washington Post contains 94% of the mass shootings in The Violence Project data for the years covered
          by both data sources, 1966 to 2019.
     44
          See, for example, Superior, Colorado, Ordinance No. O-9, as adopted June 7, 2022, page 1; Boulder,
          Colorado, Ordinance Nos. 8494, 8525-29, as adopted August 2, 2022, B; Boulder County, Colorado,
          Ordinance No. 2022-5, as adopted August 2, 2022, B; and “Gun Violence Prevention Ordinances
          Update,” City of Louisville, September 9, 2022.



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     four or more people were killed in a public place in one incident, excluding incidents

     involving other criminal activity such as a robbery. 45

               29.      Each of the four sources contains data on mass shootings covering

     different time periods. The Mother Jones data covers 112 mass shootings from 1982 to

     October 13, 2022,46 the Citizens Crime Commission data covers 80 mass shootings from


     45
          Citizen Crime Commission describes a mass shooting as “four or more victims killed” in “a public
          place” who were “unrelated to another crime (e.g., robbery, domestic violence).” Citizen Crime
          Commission notes that its sources include “news reports and lists created by government entities and
          advocacy groups.” “Mayhem Multiplied: Mass Shooters and Assault Weapons,” Citizens Crime
          Commission of New York City, February 2018 update.
          Mother Jones describes mass shootings as “indiscriminate rampages in public places resulting in four or
          more victims killed by the attacker,” excluding “shootings stemming from more conventionally
          motivated crimes such as armed robbery or gang violence.” Although in January 2013 Mother Jones
          changed its definition of mass shooting to include instances when three or more people were killed, for
          this declaration we only analyzed mass shootings where four or more were killed to be consistent with
          the definition of the other three sources. “A Guide to Mass Shootings in America,” Mother Jones,
          updated November 23, 2022, http://www.motherjones.com/politics/2012/07/mass-shootings-map. See
          also, “What Exactly is a Mass Shooting,” Mother Jones, August 24, 2012.
          http://www.motherjones.com/mojo/2012/08/what-is-a-mass-shooting.
          The Washington Post describes a mass shooting as “four or more people were killed, usually by a lone
          shooter” excluding “shootings tied to robberies that went awry” and “domestic shootings that took place
          exclusively in private homes.” The Washington Post notes that its sources include “Grant Duwe, author
          of ‘Mass Murder in the United States: A History,’ Mother Jones and Washington Post research,” as well
          as “Violence Policy Center, Gun Violence Archive; FBI 2014 Study of Active Shooter Incidents;
          published reports.” “The terrible numbers that grow with each mass shooting,” The Washington Post,
          updated May 12, 2021, https://www.washingtonpost.com/graphics/2018/national/mass-shootings-in-
          america/.
          The Violence Project indicates that it uses the Congressional Research Service definition of a mass
          shooting: “a multiple homicide incident in which four or more victims are murdered with firearms—not
          including the offender(s)—within one event, and at least some of the murders occurred in a public
          location or locations in close geographical proximity (e.g., a workplace, school, restaurant, or other
          public settings), and the murders are not attributable to any other underlying criminal activity or
          commonplace circumstance (armed robbery, criminal competition, insurance fraud, argument, or
          romantic triangle).” The Violence Project notes that its sources include “Primary Sources: Written
          journals / manifestos / suicide notes etc., Social media and blog posts, Audio and video recordings,
          Interview transcripts, Personal correspondence with perpetrators” as well as “Secondary Sources (all
          publicly available): Media (television, newspapers, magazines), Documentary films, Biographies,
          Monographs, Peer-reviewed journal articles, Court transcripts, Law Enforcement records, Medical
          records, School records, Autopsy reports.” “Mass Shooter Database,” The Violence Project,
          https://www.theviolenceproject.org/methodology/, accessed January 17, 2020.
     46
          “A Guide to Mass Shootings in America,” Mother Jones, updated November 23, 2022,
          http://www.motherjones.com/politics/2012/07/mass-shootings-map. Excludes mass shootings where
          only three people were killed. Note this analysis of the Mother Jones data may not match other analyses
          because Mother Jones periodically updates its historical data.



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     1984 to February 2018,47 The Washington Post data covers 185 mass shootings from

     1966 to May 12, 2021,48 and The Violence Project data covers 182 mass shootings from

     1966 to May 14, 2022.49 50

               30.      Note that the two more recently compiled sources of mass shootings, The

     Washington Post and The Violence Project, include additional mass shootings that were

     not covered by either Mother Jones or Citizens Crime Commission. In general, we found

     that these additional mass shootings were less covered by the media and involved fewer

     fatalities and/or injuries than the ones previously identified by Mother Jones or Citizens

     Crime Commission. For example, using the mass shooting data for the period 1982

     through 2019, we found that the median number of news stories for a mass shooting

     included in Mother Jones and/or Citizen Crime Commission was 317, while the median

     for the additional mass shootings identified in The Washington Post and/or The Violence




     47
          Mayhem Multiplied: Mass Shooters and Assault Weapons,” Citizens Crime Commission of New York
          City, February 2018 update.
     48
          “The terrible numbers that grow with each mass shooting,” The Washington Post, updated May 12,
          2021, https://www.washingtonpost.com/graphics/2018/national/mass-shootings-in-america/.
     49
          “Mass Shooter Database,” The Violence Project https://www.theviolenceproject.org/mass-shooter-
          database/, updated May 14, 2022.
     50
          Note that I have updated this mass shooting analysis to include more recent incidents, as well as more
          recently available details. In my 2017 declaration in Duncan v. Bonta, I included data on mass
          shootings through April 2017. In my 2018 declaration in Rupp v. Becerra, I updated the analysis to
          include data on mass shootings through September 2018. The analyses in both of these declarations
          included mass shootings only from Mother Jones and the Citizen Crime Commission. In my 2020
          declaration in Miller v. Becerra, I updated the analysis to include mass shootings through December
          2019 and added mass shootings from two more sources, the Washington Post and the Violence Project.
          The number of mass shootings, as well as some details about the shootings, are not identical across
          these declarations for three main reasons. First, I have updated the analysis to include more recent
          incidents as well as more recently available details. Second, starting in 2020, I added two more sources
          (The Washington Post and Violence Project), which include additional mass shootings and details not
          included in the initial sources. Third, even though Mother Jones included instances when three or more
          people were killed, for my declarations and reports starting in 2020, I only included mass shootings
          where four or more were killed to be consistent with the definition of the other three sources.



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     Project was 28.51 In addition, using the mass shooting data through 2019, we found an

     average of 21 fatalities or injuries for a mass shooting included in Mother Jones and/or

     Citizen Crime Commission, while only 6 fatalities or injuries for the additional mass

     shootings identified in The Washington Post and/or The Violence Project.

               31.      We combined the data from the four sources for the period 1982 through

     October 2022, and searched news stories on each mass shooting to obtain additional

     details on the types of weapons used and data on shots fired where available. We

     compared the details on the weapons used in each shooting to the list of prohibited

     firearms and features specified in California law to identify, based on this publicly

     available information, which mass shootings involved the use of Assault Weapons. In

     addition, we identified, based on this publicly available information, which mass

     shootings involved the use of large-capacity magazines. See attached Exhibit B for a

     summary of the combined data and Exhibit C for a summary of the weapons used in each

     public mass shooting based on Mother Jones, Citizens Crime Commission, The

     Washington Post, The Violence Project, and news reports. 52


          A. The use of Assault Weapons in public mass shootings

               32.      Based on the 179 mass shootings through October 2022, we found that

     Assault Weapons are often used in public mass shootings. Whether an Assault Weapon

     was used in a mass shooting can be determined in 153 out of the 179 incidents (85%)

     considered in this analysis. Out of these 153 mass shootings, 36 (or 24%) involved


     51
          The search was conducted over all published news stories on Factiva. The search was based on the
          shooter’s name and the location of the incident over the period from one week prior to three months
          following each mass shooting.
     52
          The Citizens Crime Commission last updated their data in February 2018 and The Washington Post last
          updated their data in May 2021.



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     Assault Weapons. Even assuming the mass shootings where it is not known whether an

     Assault Weapon was used all did not involve an Assault Weapon, 36 out of 179 mass

     shootings, or 20%, involved Assault Weapons.


      B. The use of large-capacity magazines in public mass shootings

            33.     Based on the 179 mass shootings through October 2022, we found that

     large-capacity magazines (those with a capacity to hold more than 10 rounds of

     ammunition) are often used in public mass shootings. Magazine capacity is known in 115

     out of the 179 mass shootings (or 64%) considered in this analysis. Out of the 115 mass

     shootings with known magazine capacity, 73 (or 63%) involved large-capacity

     magazines. Even assuming the mass shootings with unknown magazine capacity all did

     not involve large-capacity magazines, 73 out of 179 mass shootings or 41% of mass

     shootings involved large-capacity magazines.


      C. Casualties in mass shootings involving Assault Weapons or large-capacity
         magazines

            34.     Based on our analysis, casualties were higher in the mass shootings that

     involved Assault Weapons than in other mass shootings. In particular, we found an

     average number of fatalities or injuries of 36 per mass shooting with an Assault Weapon

     versus 10 for those without. Focusing on just fatalities, we found an average number of

     fatalities of 12 per mass shooting with an Assault Weapon versus 6 for those without.

            35.     Based on our analysis, casualties were higher in the mass shootings that

     involved weapons with large-capacity magazines than in other mass shootings. In

     particular, we found an average number of fatalities or injuries of 25 per mass shooting

     with a large-capacity magazine versus 9 for those without. Focusing on just fatalities, we



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     found an average number of fatalities of 10 per mass shooting with a large-capacity

     magazine versus 6 for those without.

                36.        In addition, we found that casualties were higher in the mass shootings

     that involved both Assault Weapons and large-capacity magazines. In particular, we

     found an average number of fatalities or injuries of 40 per mass shooting with both an

     Assault Weapon and a large-capacity magazine versus 8 for those without either.

     Focusing on just fatalities, we found an average number of fatalities of 13 per mass

     shooting with both an Assault Weapon and a large-capacity magazine versus 6 for those

     without either. (See table below.)

                       Numbers of Fatalities and Injuries in Public Mass Shootings
                                          1982 - October 2022

                                                                # of                          Average # of

                         Weapon Used                          Incidents        Fatalities        Injuries          Total


            Assault Weapon                                        36               12               24               36
            No Assault Weapon                                    117                6                4               10
            Unknown                                               26                5                3                9


            Large-Cap. Mag.                                       73               10               16               25
            No Large-Cap. Mag.                                    42                6                3                9
            Unknown                                               64                5                3                7


            Assault Weapon & Large-Cap. Mag.                      31               13               27               40
            Large-Cap. Mag. Only1                                 36                 8               7               15
            No Assault Weapon or Large-Cap. Mag.2                 41                 6               3                8
            Unknown3                                              71                 5               3                8

       Notes and Sources:
            Casualty figures exclude the shooter. Assault Weapon and large-capacity magazine classification and casualties
            updated based on review of stories from Factiva/Google searches.
        1
            Shootings involving large-capacity magazine and no Assault Weapon.
        2
            Shootings involving neither a large-capacity magazine nor Assault Weapon.
        3
            Shootings where it is either unknown whether a large-capacity magazine was involved or unknown whether an
            Assault Weapon was involved.




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               37.      Our results are consistent with those of other studies that have analyzed

     mass shootings. Note that although the other studies are based on alternate sets of mass

     shootings, including covering different years and defining mass shootings somewhat

     differently, the results are similar in finding that the number of fatalities and injuries are

     greater in mass shootings in which large capacity magazines and assault weapons are

     involved. A 2019 academic article published in the American Journal of Public Health by

     Klarevas et al. found that “[a]ttacks involving LCMs resulted in a 62% higher mean

     average death toll.”53 This study found an average number of fatalities of 11.8 per mass

     shooting with a large-capacity magazine versus 7.3 for those without. The results in this

     study were based on 69 mass shootings between 1990 and 2017. 54 An analysis of the

     mass shootings detailed in a 2016 article by Gary Kleck yielded similar results: 21

     average fatalities or injuries in mass shootings involving large-capacity magazines versus

     8 for those without.55 The Kleck study covered 88 mass shooting incidents between 1994

     and 2013.56 In a 2018 study, Koper et al. found that mass shootings involving assault

     weapons and large-capacity magazines resulted in an average of 13.7 victims versus 5.2

     for other cases.57 The Koper et al. study covered 145 mass shootings between 2009 and



     53
          Louis Klarevas, Andrew Conner, and David Hemenway, “The Effect of Large-Capacity Magazine Bans
          on High-Fatality Mass Shootings, 1990-2017,” American Journal of Public Health (2019).
     54
          The Klarevas et al. study defines mass shootings as “intentional crimes of gun violence with 6 or more
          victims shot to death, not including the perpetrators” and, unlike my analysis, does not exclude
          incidents in private places or incidents involving other criminal activity such as robbery.
     55
          Kleck, Gary, “Large-Capacity Magazines and the Casualty Counts in Mass Shootings: The Plausibility
          of Linkages,” 17 Justice Research and Policy 28 (2016).
     56
          The Kleck study defines a mass shooting as “one in which more than six people were shot, either fatally
          or nonfatally, in a single incident.” See, Kleck, Gary, “Large-Capacity Magazines and the Casualty
          Counts in Mass Shootings: The Plausibility of Linkages,” 17 Justice Research and Policy 28 (2016).
     57
          Koper et al., “Criminal Use of Assault Weapons and High-Capacity Semiautomatic Firearms: an
          Updated Examination of Local and National Sources,” Journal of Urban Health (2018).



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     2015.58 The following table summarizes their results.

                                  Comparison of Studies on the Use of Large-Capacity Magazines in Mass Shootings


                                                           Criteria                           Time              # of     Avg. # of Fatalities + Injuries / Fatalities
                    Source                  # Victims         Other Criteria                  Period         Incidents     With LCM                Without LCM
                       (1)                      (2)                  (3)                       (4)              (5)               (6)                     (7)

              Allen (2023)
                             1              at least 4   Includes shootings "in a        1982-October 2022      179             25 / 10                   9/6
                                                   3     public place in one incident,
              Allen (2020)
                             2              killed                                       1982-2019              161             27 / 10                   9/6
                                                         and exclude[s] incidents
                                                         involving other criminal
                                                         activity such as a robbery"


              Kleck et al. (2016)
                                    4       more than    Excludes "spree shootings"      1994-2013               88             21 / n/a                 8 / n/a
                                            6 shot       and includes shootings in
                                                         both "public" and "private"
                                                         places

              Klarevas et al. (2019)
                                        5   at least 6   Includes “intentional crimes    1990-2017               69             n/a / 12                n/a / 7
                                                   3     of gun violence"
                                            killed
              Koper et al. (2018)
                                    6       at least 4   Includes shootings in both      2009-2015              145             14 / n/a                5 / n/a
                                                   3     public and private places
                                            killed

          Notes and Sources:
          1
              Exhibit B of this Declaration.
          2
              Declaration of Lucy P. Allen in Support of Defendants' Opposition to Motion for Preliminary Injunction in James Miller et al. v. Xavier Becerra
              et al., dated January 23, 2020.
          3
              Excluding shooter.
          4
              Kleck, Gary, “Large-Capacity Magazines and the Casualty Counts in Mass Shootings: The Plausibility of Linkages,” 17 Justice Research and
              Policy 28 (2016).
          5
              Klarevas et al., “The Effect of Large-Capacity Magazine Bans on High-Fatality Mass Shootings 1990-2017,” American Journal of Public Health
              (2019).
          6
              Koper et al., “Criminal Use of Assault Weapons and High-Capacity Semiautomatic Firearms: an Updated Examination of Local and National
              Sources," Journal of Urban Health (2018). Note that the Koper et al study includes shootings involving both LCM and assault weapons.




          D. The number of rounds fired in public mass shootings with Assault Weapons
             or large-capacity magazines

                     38.                The data on public mass shootings indicates that it is common for

     offenders to fire more than 10 rounds when using an Assault Weapon. Of the 36 mass

     shootings we analyzed through October 2022 that are known to have involved an Assault

     Weapon, there are 24 in which the number of shots fired is known. Shooters fired more

     than ten rounds in all 24 incidents, and the average number of shots fired was 149.




     58
              The Koper et al. study defined mass shootings as “incidents in which four or more people were
              murdered with a firearm, not including the death of the shooter if applicable and irrespective of the
              number of additional victims shot but not killed.”



                                                                                         24
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                39.     In addition, the data indicates that it is common for offenders to fire more

     than 10 rounds when using a gun with a large-capacity magazine in mass shootings. Of

     the 73 mass shootings that are known to have involved a large-capacity magazine, there

     are 49 in which the number of shots fired is known. Shooters fired more than 10 rounds

     in 46 of the 49 incidents (or 94%), and the average number of shots fired was 99.


          E. The percent of mass shooters’ guns legally obtained

                40.     The data on public mass shootings indicates that the majority of guns used

     in these mass shootings were obtained legally. 59 Of the 179 mass shootings analyzed

     through October 2022, there are 112 where it can be determined whether the gun was

     obtained legally. According to the data, shooters in 79% of mass shootings obtained their

     guns legally (89 of the 112 mass shootings) and 80% of the guns used in these 112 mass

     shootings were obtained legally (202 of the 252 guns). (Even if one assumed that the

     guns were illegally obtained in all of the mass shootings where this question of legality is

     unknown, then one would find that in 50% of the mass shootings the guns were obtained

     legally and that 62% of the guns themselves were obtained legally.)


          F.   The number of guns involved in mass shootings

                41.     The data on public mass shootings indicates that the majority of mass

     shootings involved a shooter with only one gun. Of the 179 mass shootings analyzed

     through October 2022, there are 165 where the number of guns involved can be

     determined. According to the data, the shooter had only one gun in 53% of the mass




     59
           The determination of whether guns were obtained legally is based on Mother Jones and The
           Washington Post reporting.



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     shootings, two guns in 26%, three guns in 12% and four or more guns in 10%. The table

     below summarizes these results.

                                 Number of Guns Involved
                                   per Mass Shooting

                                 Number         Number
                                 of Guns        of Mass
                                 Involved      Shootings          %

                                     1                87         53%
                                     2                43         26%
                                     3                19         12%
                                4 or more             16         10%
                                                   165

                             Sources:
                              See Exhibit B for details on sources.



      G. Trends in the number of mass shootings

            42.     According to the data since 1982, the first year in our analysis, the number

     of public mass shootings per year has been increasing. The following chart shows the

     number of mass shootings per year during this period, along with a fitted trendline:




                                                 26
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                                                                   Trend in Public Mass Shootings
                                                                             1982 - 2021
                                        12




                                        10
      Number of Public Mass Shootings




                                         8


                                                                                         Trendline
                                         6




                                         4




                                         2




                                         0


      Notes and Sources:
      Data from Appendix B. The dotted line is calculated as a linear time series regression of the number of mass shootings from 1982 to 2021.



                                             43.   Focusing only on public mass shootings involving large-capacity

     magazines, the data similarly shows that the number of public mass shootings with large-

     capacity magazines has been increasing. The following chart shows the number of public

     mass shootings involving large-capacity magazines per year, along with a fitted trendline:




                                                                                27
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                                                                                           Trend in Public Mass Shootings Involving Large-Capacity Magazines
                                                                                                                       1982 - 2021
          Number of Public Mass Shootings Involving Large-Capacity Magazines   7



                                                                               6



                                                                               5



                                                                               4



                                                                               3                                              Trendline



                                                                               2



                                                                               1



                                                                               0


      Notes and Sources:
      Data from Appendix B. The dotted line is calculated as a linear time series regression of the number of mass shootings involving large-capacity
      magazines from 1982 to 2021.



                                                                                   44.   Focusing on a broader set of shooting incidents also shows an upward

     trend over time. In particular, data from the Gun Violence Archive (“GVA”) on shootings

     in which four or more victims were killed or injured in either a public place or a home

     shows that the number of shooting incidents within this broader category has also been

     increasing.60 GVA maintains a “database of incidents of gun violence and gun crime,”

     based on information from “police, media, data aggregates, government and other

     sources” and has data starting in 2014.61 Note that the data indicates there is less news

     coverage for this broader set of shooting incidents versus public mass shootings and thus




     60
                                                “General Methodology,” Gun Violence Archive Website, accessed on April 19, 2023.
     61
                                                “General Methodology,” Gun Violence Archive Website, accessed on April 19, 2023.



                                                                                                                         28
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     less information about the type of magazine used. 62 The following chart shows the

     number of shootings with four or more fatalities or injuries per year according to the

     GVA data, along with a fitted trendline:

                                                                                        Trend in Shootings With Four or More Injuries or Fatalities
                                                                     800                                       2014 - 2021
      Number of Shootings With Four or More Injuries or Fatalities




                                                                     700



                                                                     600
                                                                                                                               Trendline

                                                                     500



                                                                     400



                                                                     300



                                                                     200



                                                                     100



                                                                       0
                                                                              2014         2015         2016         2017         2018        2019         2020         2021
                    Notes and Sources:
                    Data from the Gun Violence Archive. The dotted line is calculated as a linear time series regression of the number of shootings with four or more
                    casualties from 2014 to 2021.




     62
                                                                     Analysis of the number of news stories covering shootings indicated that there is more news coverage
                                                                     on public mass shootings than mass shootings in the home. For example, our analysis indicated that the
                                                                     median number of news stories covering public mass shootings is approximately four times larger than
                                                                     for mass shootings in the home. See “Declaration of Lucy P. Allen,” dated February 6, 2023, in Oregon
                                                                     Firearms Federation, Inc., et al., v. Tina Kotek, et al. In addition, the data indicates that when fatalities
                                                                     and/or casualties are higher there is more news coverage. For example, our analysis indicates that there
                                                                     are approximately four times more news stories covering mass shootings with six or more fatalities than
                                                                     those with fewer than six fatalities.



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     Dated this 5th day of May, 2023.




                                         Lucy P. Allen




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                            EXHIBIT A
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                                                                    Lucy P. Allen
                                                                    Managing Director

                                                                    NERA Economic Consulting
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                                                                    Tel: +1 212 345 5913 Fax: +1 212 345 4650
                                                                    lucy.allen@nera.com
                                                                    www.nera.com




                                    LUCY P. ALLEN
                                  MANAGING DIRECTOR

   Education
                  YALE UNIVERSITY
                  M.Phil., Economics, 1990
                  M.A., Economics, 1989
                  M.B.A., 1986

                  STANFORD UNIVERSITY
                  A.B., Human Biology, 1981


   Professional Experience
   1994-Present          National Economic Research Associates, Inc.
                         Managing Director. Responsible for economic analysis in the areas of
                         securities, finance and environmental and tort economics.
                         Senior Vice President (2003-2016).
                         Vice President (1999-2003).
                         Senior Consultant (1994-1999).

   1992-1993             Council of Economic Advisers, Executive Office of the President
                         Staff Economist. Provided economic analysis on regulatory and health care
                         issues to Council Members and interagency groups. Shared responsibility
                         for regulation and health care chapters of the Economic Report of the
                         President, 1993. Working Group member of the President’s National
                         Health Care Reform Task Force.

   1986-1988             Ayers, Whitmore & Company (General Management Consultants)
   1983-1984             Senior Associate. Formulated marketing, organization, and overall
                         business strategies including:
                         Plan to improve profitability of chemical process equipment manufacturer.
                         Merger analysis and integration plan of two equipment manufacturers.
                         Evaluation of Korean competition to a U.S. manufacturer.
                         Diagnostic survey for auto parts manufacturer on growth obstacles.



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                       Marketing plan to increase international market share for major accounting
                       firm.

   Summer 1985         WNET/Channel Thirteen, Strategic Planning Department
                       Associate. Assisted in development of company’s first long-term strategic
                       plan. Analyzed relationship between programming and viewer support.

   1981-1983           Arthur Andersen & Company
                       Consultant. Designed, programmed and installed management information
                       systems. Participated in redesign/conversion of New York State’s
                       accounting system. Developed municipal bond fund management system,
                       successfully marketed to brokers. Participated in President’s Private Sector
                       Survey on Cost Control (Grace Commission). Designed customized
                       tracking and accounting system for shipping company.

   Teaching
   1989- 1992          Teaching Fellow, Yale University
                       Honors Econometrics
                       Intermediate Microeconomics
                       Competitive Strategies
                       Probability and Game Theory
                       Marketing Strategy
                       Economic Analysis


   Publications
         “Snapshot of Recent Trends in Asbestos Litigation: 2022 Update,” (co-author), NERA
         Report, 2022.

         “Snapshot of Recent Trends in Asbestos Litigation: 2021 Update,” (co-author), NERA
         Report, 2021.

         “The Short-Term Effect of Goodwill Impairment Announcements on Companies’ Stock
         Prices” (co-author), International Journal of Business, Accounting and Finance,
         Volume 14, Number 2, Fall 2020.

         “Snapshot of Recent Trends in Asbestos Litigation: 2020 Update,” (co-author), NERA
         Report, 2020.

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         Report, 2018.




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                                                                                  Lucy P. Allen


         “Trends and the Economic Effect of Asbestos Bans and Decline in Asbestos
         Consumption and Production Worldwide,” (co-author), International Journal of
         Environmental Research and Public Health, 15(3), 531, 2018.

         “Snapshot of Recent Trends in Asbestos Litigation: 2017 Update,” (co-author), NERA
         Report, 2017.

         “Asbestos: Economic Assessment of Bans and Declining Production and
         Consumption,” World Health Organization, 2017.

         “Snapshot of Recent Trends in Asbestos Litigation: 2016 Update,” (co-author), NERA
         Report, 2016.

         “Snapshot of Recent Trends in Asbestos Litigation: 2015 Update,” (co-author), NERA
         Report, 2015.

         “Snapshot of Recent Trends in Asbestos Litigation: 2014 Update,” (co-author), NERA
         Report, 2014.

         “Snapshot of Recent Trends in Asbestos Litigation: 2013 Update,” (co-author), NERA
         Report, 2013.

         “Asbestos Payments per Resolved Claim Increased 75% in the Past Year – Is This
         Increase as Dramatic as it Sounds? Snapshot of Recent Trends in Asbestos Litigation:
         2012 Update,” (co-author), NERA Report, 2012.

         “Snapshot of Recent Trends in Asbestos Litigation: 2011 Update,” (co-author), NERA
         White Paper, 2011.

         “Snapshot of Recent Trends in Asbestos Litigation: 2010 Update,” (co-author), NERA
         White Paper, 2010.

         “Settlement Trends and Tactics” presented at Securities Litigation During the Financial
         Crisis: Current Development & Strategies, hosted by the New York City Bar, New
         York, New York, 2009.

         “Snapshot of Recent Trends in Asbestos Litigation,” (co-author), NERA White Paper,
         2009.

         “China Product Recalls: What’s at Stake and What’s Next,” (co-author), NERA
         Working Paper, 2008.

         “Forecasting Product Liability by Understanding the Driving Forces,” (co-author), The
         International Comparative Legal Guide to Product Liability, 2006.

         “Securities Litigation Reform: Problems and Progress,” Viewpoint, November 1999,
         Issue No. 2 (co-authored).


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                                                                                   Lucy P. Allen


         “Trends in Securities Litigation and the Impact of the PSLRA,” Class Actions &
         Derivative Suits, American Bar Association Litigation Section, Vol. 9, No. 3, Summer
         1999 (co-authored).

         “Random Taxes, Random Claims,” Regulation, Winter 1997, pp. 6-7 (co-authored).



   Depositions & Testimony (4 years)
         Deposition Testimony before the United States District Court for the Central District of
         California in In re Prime Healthcare ERISA Litigation, 2023.

         Deposition Testimony before the United States District Court for the Southern District
         of Texas in Delaware County Employees Retirement System v. Cabot Oil & Gas
         Corporation, et al., 2023.

         Deposition Testimony before the United States District Court for the District of Oregon
         in Oregon Firearms Federation, Inc. et al. v. Tina Kotek et al., 2023.

         Depositions before the United States District Court for the Southern District of Texas,
         Houston Division in Miriam Edwards, et al. v. McDermott International, Inc., et al.,
         2023.

         Deposition Testimony before the United States District Court for the District of Harris
         County, Texas in Boxer Property Management Corp. et al. v. Illinois Union Ins. Co. et
         al., 2022.

         Trial Testimony before the Supreme Court of the State of New York, County of New
         York, in MUFG Union Bank, N.A. (f/k/a Union Bank, N.A.) v. Axos Bank (f/k/a Bank of
         Internet USA), et al., 2022.

         Deposition Testimony before the United States District Court for the Eastern District of
         Virginia, in Plymouth County Retirement System, et al. v. Evolent Health, Inc., et al.,
         2022.

         Deposition Testimony before the United States District Court for the Northern District
         of Georgia, in Public Employees’ Retirement System of Mississippi v. Mohawk
         Industries, Inc., et al., 2022.

         Deposition Testimony before the United States District Court for the Southern District
         of New York, in SEC v. AT&T, Inc. et al., 2022.

         Deposition Testimony before the Superior Court of New Jersey, Hudson County, in
         Oklahoma Firefighters Pension and Retirement System vs. Newell Brands Inc., et al.,
         2022.




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                                                                                   Lucy P. Allen


         Deposition Testimony before the United States District Court for the District of
         Pennsylvania, in Allegheny County Employees, et al. v. Energy Transfer LP., et al.,
         2022.

         Deposition Testimony before the United States District Court, District of Tennessee, in
         St. Clair County Employees’ Retirement System v. Smith & Acadia Healthcare
         Company, Inc., et al., 2022.

         Deposition Testimony before the United States District Court, District of Colorado, in
         Cipriano Correa, et al. v. Liberty Oilfield Services Inc., et al., 2022.

         Deposition Testimony before the Superior Court of New Jersey, Hudson County, in
         Oklahoma Firefighters Pension and Retirement System vs. Newell Brands Inc., et al.,
         2021.

         Deposition Testimony before the Superior Court of New Jersey, Middlesex County, in
         Dana Transport, Inc. et al., vs. PNC Bank et al., 2021.

         Deposition Testimony before the United States District Court, Western District of North
         Carolina, in Cheyenne Jones and Sara J. Gast v. Coca-Cola Consolidated Inc., et al.,
         2021.

         Testimony and Deposition Testimony before the Court of Chancery of the State of
         Delaware in Bardy Diagnostics Inc. v. Hill-Rom, Inc. et al., 2021.

         Deposition Testimony before the United States Bankruptcy Court, Southern District of
         Texas, Houston Division, in Natixis Funding Corporation v. Genon Mid-Atlantic, LLC,
         2021.

         Testimony and Deposition Testimony before the United States District Court, Southern
         District of California, in Miller et al. v. Becerra et al., 2021.

         Deposition Testimony before the Court of Chancery of the State of Delaware in
         Arkansas Teacher Retirement System v. Alon USA Energy, Inc., et al., 2021.

         Deposition Testimony before the United States District Court, Western District of
         Oklahoma, in Kathleen J. Myers v. Administrative Committee, Seventy Seven Energy,
         Inc. Retirement & Savings Plan, et al., 2020.

         Deposition Testimony before the United States District Court, Middle District of
         Tennessee, in Nikki Bollinger Grae v. Corrections Corporation of America, et al., 2020.

         Deposition Testimony before the Supreme Court of the State of New York, County of
         New York, in MUFG Union Bank, N.A. (f/k/a Union Bank, N.A.) v. Axos Bank (f/k/a
         Bank of Internet USA), et al., 2020.




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                                                                                  Lucy P. Allen


         Deposition Testimony before the United States District Court, Western District of
         Washington at Seattle, in In re Zillow Group, Inc. Securities Litigation, 2020.

         Deposition Testimony before the United States District Court, Middle District of
         Tennessee, in Zwick Partners LP and Aparna Rao v. Quorum Health Corporation,
         2019.

         Testimony and Declaration before the United States District Court, Southern District of
         Iowa, in Mahaska Bottling Company, Inc., et al. v. PepsiCo, Inc. and Bottling Group,
         LLC, 2019.

         Testimony before the United States District Court, Southern District of New York, in
         Chicago Bridge & Iron Company N.V. Securities Litigation, 2019.

         Deposition Testimony before the United States District Court, Middle District of
         Florida, in Jacob J. Beckel v. Fagron Holdings USA, LLC et al., 2019.




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                            EXHIBIT B
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                                                                 Exhibit B
                                                         Public Mass Shootings Data
                                                              1982 – Oct. 2022
                                                                   Large                                            Total                   Gun(s) Offender(s)'
                                                                  Capacity     Assault                           Fatalities &   Shots      Obtained Number of
                                                                          a              b         c         c              c          d
             Case and Location              Date         Source   Mag.?       Weapon? Fatalities Injuries         Injuries      Fired      Legally?e   Guns
                    (1)                      (2)            (3)     (4)           (5)        (6)       (7)           (8)         (9)         (10)      (11)

 1. Raleigh spree shooting                 10/13/22 MJ              -             -           5          2             7               -     -            2
        Hedingham, NC
 2. Highland Park July 4 parade shooting    7/4/22 MJ               Yes           -           7        48             55          83 ba      Yes          1
        Highland Park, IL
 3. Tulsa medical center shooting           6/1/22 MJ               -             -           4          9 bb         13 bb       37 bc      Yes          2
        Tulsa, OK
 4. Robb Elementary School massacre        5/24/22 MJ               Yes           Yes        21        17             38         164 bd      Yes          1 be
        Uvalde, TX
 5. Buffalo supermarket massacre           5/14/22 MJ/VP            Yes           Yes        10          3            13          60 bf      Yes          1
        Buffalo, NY
 6. Sacramento County church shooting      2/28/22 MJ               Yes           -           4          0             4               -     Yes bg       1
        Sacramento, CA
 7. Oxford High School shooting            11/30/21 MJ/VP           Yes           No          4          7            11          30 bh      Yes bi       1
        Oxford, MI
 8. San Jose VTA shooting                  5/26/21 MJ/VP            Yes           No          9          0             9          39 bj      Yes bk       3
        San Jose, CA
 9. Canterbury Mobile Home Park shooting    5/9/21 WaPo             Yes           -           6          0             6          17 bl      -            1
        Colorado Springs, CO
10. FedEx warehouse shooting               4/15/21 MJ/VP/WaPo       Yes           Yes         8          7            15               -     Yes          2 bm
        Indianapolis, IN
11. Orange office complex shooting         3/31/21 MJ/VP/WaPo       -             -           4          1             5               -     -            1
        Orange, CA
12. Essex Royal Farms shooting             3/28/21 WaPo             -             -           4          1             5               -     Yes bn       1
        Baltimore County, MD



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                                                                Exhibit B
                                                        Public Mass Shootings Data
                                                             1982 – Oct. 2022
                                                                    Large                                            Total                   Gun(s) Offender(s)'
                                                                   Capacity     Assault                           Fatalities &   Shots      Obtained Number of
                                                                           a              b         c         c              c          d
              Case and Location               Date       Source    Mag.?       Weapon? Fatalities Injuries         Injuries      Fired      Legally?e   Guns
                      (1)                      (2)           (3)     (4)           (5)        (6)       (7)           (8)         (9)         (10)      (11)

13. King Soopers supermarket shooting        3/22/21 MJ/VP/WaPo      Yes           Yes        10          0            10               -     Yes          2
        Boulder, CO
14. Atlanta massage parlor shootings         3/16/21 MJ/VP/WaPo      Yes           -           8          1             9               -     Yes bo       1
        Atlanta, GA
15. Hyde Park shooting                        1/9/21 WaPo            -             -           5          2             7               -     -            1
        Chicago, IL
16. Englewood block party shooting            7/4/20 WaPo            -             -           4          4             8               -     -            -
        Chicago, IL
17. Springfield convenience store shooting   3/15/20 MJ/VP/WaPo      -             -           4          2             6               -     Yes bp       2
        Springfield, MO
18. Molson Coors shooting                    2/26/20 MJ/VP/WaPo      -             -           5          0             5          12 bq      -            2 br
        Milwaukee, WI
19. Jersey City Kosher Supermarket           12/10/19 MJ/VP/WaPo     -             No          4          3             7               -     Yes          5
        Jersey City, NJ
20. Football-watching party                  11/17/19 WaPo           -             No          4          6            10               -     -            2
        Fresno, CA
21. Halloween Party                          11/1/19 WaPo            -             -           5          0             5               -     -            1
        Orinda, CA
22. Tequila KC bar                           10/6/19 WaPo            -             No          4          5             9               -     No           2
        Kansas City, KS
23. Midland-Odessa Highways                  8/31/19 MJ/VP/WaPo      -             Yes         7        25             32               -     No           1
        Odessa, TX
24. Dayton                                    8/4/19 MJ/VP/WaPo      Yes           Yes         9        27             36          41 f       Yes        1/2
        Dayton, OH



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                                                              Exhibit B
                                                      Public Mass Shootings Data
                                                           1982 – Oct. 2022
                                                                Large                                            Total                   Gun(s) Offender(s)'
                                                               Capacity     Assault                           Fatalities &   Shots      Obtained Number of
                                                                       a              b         c         c              c          d
             Case and Location            Date        Source   Mag.?       Weapon? Fatalities Injuries         Injuries      Fired      Legally?e   Guns
                     (1)                  (2)           (3)      (4)           (5)        (6)       (7)           (8)         (9)         (10)      (11)

25. El Paso Walmart                       8/3/19 MJ/VP/WaPo      Yes           Yes        22        26             48               -     Yes          1
        El Paso, TX
26. Casa Grande Senior Mobile Estates    6/19/19 WaPo            -             -           4          0             4               -     -            1
        Santa Maria, CA
27. Virginia Beach Municipal Center      5/31/19 MJ/VP/WaPo      Yes           No         12          4            16               -     Yes          2
        Virginia Beach, VA
28. Henry Pratt Co.                      2/15/19 MJ/VP/WaPo      -             No          5          6            11               -     No           1
        Aurora, IL
29. SunTrust Bank                        1/23/19 MJ/VP/WaPo      -             No          5          0             5               -     Yes          1
        Sebring, FL
30. Borderline Bar & Grill               11/7/18 MJ/VP/WaPo      Yes           No         12          1            13          50 g       Yes          1
        Thousand Oaks, CA
31. Tree of Life Synagogue              10/27/18 MJ/VP/WaPo      -             Yes        11          6            17               -     Yes          4
        Pittsburgh, PA
32. T&T Trucking                         9/12/18 MJ/VP/WaPo      No            No          5          0             5               -     -            1
        Bakersfield, CA
33. Capital Gazette                      6/28/18 MJ/VP/WaPo      -             No          5          2             7               -     Yes          1
        Annapolis, MD
34. Santa Fe High School                 5/18/18 MJ/VP/WaPo      No            No         10        13             23               -     -            2
        Santa Fe, TX
35. Waffle House                         4/22/18 MJ/VP/WaPo      -             Yes         4          4             8               -     Yes          1
        Nashville, TN
36. Detroit                              2/26/18 VP              -             No          4          0             4               -     -            -
        Detroit, MI



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                                                           Exhibit B
                                                   Public Mass Shootings Data
                                                        1982 – Oct. 2022
                                                                  Large                                            Total                   Gun(s) Offender(s)'
                                                                 Capacity     Assault                           Fatalities &   Shots      Obtained Number of
                                                                         a              b         c         c              c          d
             Case and Location            Date      Source       Mag.?       Weapon? Fatalities Injuries         Injuries      Fired      Legally?e   Guns
                     (1)                  (2)           (3)        (4)           (5)        (6)       (7)           (8)         (9)         (10)      (11)

37. Stoneman Douglas HS                  2/14/18 CC/MJ/VP/WaPo     Yes           No         17         17            34               -     Yes          1
        Parkland, FL
38. Pennsylvania Carwash                 1/28/18 MJ/VP/WaPo        -             -           4          1             5               -     -            3h
        Melcroft, PA
39. Rancho Tehama                       11/14/17 MJ/VP/WaPo        Yes           Yes         4         10            14          30 i       No           2
        Rancho Tehama, CA
40. Texas First Baptist Church           11/5/17 CC/MJ/VP/WaPo     Yes           Yes        26        20             46         450 j       Yes          1
        Sutherland Springs, TX
41. Las Vegas Strip                      10/1/17 CC/MJ/VP/WaPo     Yes           Yes        58        422           480        1100 k       Yes        23
        Las Vegas, NV
42. Taos and Rio Arriba counties         6/15/17 WaPo              No            No          5          0             5               -     -            1
        Abiquiu, NM
43. Fiamma Workplace                      6/5/17 CC/MJ/VP/WaPo     No            No          5          0             5               -     -            1
        Orlando, FL
44. Marathon Savings Bank                3/22/17 VP/WaPo           -             No          4          0             4               -     -            2
        Rothschild, WI
45. Club 66                               2/6/17 VP/WaPo           -             -           4          0             4               -     -            1
        Yazoo City, MS
46. Fort Lauderdale Airport               1/6/17 CC/MJ/VP/WaPo     No            No          5          6            11          15 l       Yes          1
        Fort Lauderdale, FL
47. Cascade Mall                         9/23/16 CC/MJ/VP/WaPo     Yes           No          5          0             5               -     -            1
        Burlington, WA
48. Dallas Police                         7/7/16 CC/MJ/VP/WaPo     Yes           Yes         5         11            16               -     Yes          3
        Dallas, TX



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                                                                  Large                                            Total                   Gun(s) Offender(s)'
                                                                 Capacity     Assault                           Fatalities &   Shots      Obtained Number of
                                                                         a              b         c         c              c          d
             Case and Location            Date      Source       Mag.?       Weapon? Fatalities Injuries         Injuries      Fired      Legally?e   Guns
                     (1)                  (2)           (3)        (4)           (5)        (6)       (7)           (8)         (9)         (10)      (11)

49. Walgreens Parking Lot                6/29/16 WaPo              -             -           4          0             4               -     -            1
         Las Vegas, NV
50. Orlando Nightclub                    6/12/16 CC/MJ/VP/WaPo     Yes           Yes        49        53            102         110 m       Yes          2
         Orlando, FL
51. Franklin Avenue Cookout               3/9/16 VP/WaPo           Yes           Yes         6          3             9          48 n       No           2
         Wilkinsburg, PA
52. Kalamazoo                            2/20/16 MJ/VP/WaPo        Yes           No          6          2             8               -     Yes          1
         Kalamazoo County, MI
53. San Bernardino                       12/2/15 CC/MJ/VP/WaPo     Yes           Yes        14        22             36         150 o       Yes          4
         San Bernardino, CA
54. Tennessee Colony campsite           11/15/15 VP/WaPo           -             -           6          0             6               -     -            1
         Anderson County, TX
55. Umpqua Community College             10/1/15 CC/MJ/VP/WaPo     -             No          9          9            18               -     Yes          6
         Roseburg, OR
56. Chattanooga Military Center          7/16/15 CC/MJ/VP/WaPo     Yes           Yes         5          2             7               -     Yes          3
         Chattanooga, TN
57. Charleston Church                    6/17/15 CC/MJ/VP/WaPo     Yes           No          9          3            12               -     Yes          1
         Charleston, SC
58. Marysville High School              10/24/14 CC/MJ/VP/WaPo     Yes           No          4          1             5               -     No           1
         Marysville, WA
59. Isla Vista                           5/23/14 MJ/VP/WaPo        No            No          6        13             19          50 p       Yes          3
         Santa Barbara, CA
60. Alturas Tribal                       2/20/14 MJ/VP/WaPo        -             No          4          2             6               -     -            2
         Alturas, CA



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                                                                 Large                                            Total                   Gun(s) Offender(s)'
                                                                Capacity     Assault                           Fatalities &   Shots      Obtained Number of
                                                                        a              b         c         c              c          d
            Case and Location            Date      Source       Mag.?       Weapon? Fatalities Injuries         Injuries      Fired      Legally?e   Guns
                    (1)                  (2)        (3)           (4)           (5)        (6)       (7)           (8)         (9)         (10)      (11)

61. Washington Navy Yard                9/16/13 CC/MJ/VP/WaPo     No            No         12          8            20               -     Yes          2
        Washington, D.C.
62. Hialeah                             7/26/13 CC/MJ/VP/WaPo     Yes           No          6          0             6          10 q       Yes          1
        Hialeah, FL
63. Santa Monica                         6/7/13 CC/MJ/VP/WaPo     Yes           Yes         5          3             8          70 r       Yes          2
        Santa Monica, CA
64. Federal Way                         4/21/13 MJ/VP/WaPo        -             No          4          0             4               -     Yes          2
        Federal Way, WA
65. Upstate New York                    3/13/13 MJ/VP/WaPo        -             No          4          2             6               -     Yes          1
        Herkimer County, NY
66. Newtown School                     12/14/12 CC/MJ/VP/WaPo     Yes           Yes        27          2            29         154         No         4/3
        Newtown, CT
67. Accent Signage Systems              9/27/12 CC/MJ/VP/WaPo     Yes           No          6          2             8          46         Yes          1
        Minneapolis, MN
68. Sikh Temple                          8/5/12 CC/MJ/VP/WaPo     Yes           No          6          4            10               -     Yes          1
        Oak Creek, WI
69. Aurora Movie Theater                7/20/12 CC/MJ/VP/WaPo     Yes           Yes        12        70             82          80         Yes          4
        Aurora, CO
70. Seattle Café                        5/30/12 CC/MJ/VP/WaPo     No            No          5          1             6               -     Yes          2
        Seattle, WA
71. Oikos University                     4/2/12 CC/MJ/VP/WaPo     No            No          7          3            10               -     Yes          1
        Oakland, CA
72. Su Jung Health Sauna                2/22/12 MJ/WaPo           -             No          4          0             4               -     Yes          1
        Norcross, GA



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                                                                   Large                                            Total                   Gun(s) Offender(s)'
                                                                  Capacity     Assault                           Fatalities &   Shots      Obtained Number of
                                                                          a              b         c         c              c          d
              Case and Location            Date        Source     Mag.?       Weapon? Fatalities Injuries         Injuries      Fired      Legally?e   Guns
                      (1)                  (2)           (3)        (4)           (5)        (6)       (7)           (8)         (9)         (10)      (11)

73. Seal Beach                           10/14/11 CC/MJ/VP/WaPo     No            No          8          1             9               -     Yes          3
        Seal Beach, CA
74. IHOP                                   9/6/11 CC/MJ/VP/WaPo     Yes           Yes         4          7            11               -     Yes          3
        Carson City, NV
75. Akron                                  8/7/11 VP                No            No          7          2             9          21 s       -            -
        Akron, OH
76. Forum Roller World                    7/23/11 WaPo              -             No          5          4             9               -     -            1
        Grand Prairie, TX
77. Grand Rapids                           7/7/11 CC                Yes           No          7          2             9          10         -            1
        Grand Rapids, MI
78. Family law practice                    6/2/11 WaPo              -             -           5          1             6               -     -            1
        Yuma, AZ
79. Tucson                                 1/8/11 CC/MJ/VP/WaPo     Yes           No          6        13             19          33         Yes          1
        Tucson, AZ
80. Jackson                               9/11/10 VP                No            No          5          0             5          12 t       -            -
        Jackson, KY
81. City Grill                            8/14/10 VP/WaPo           -             No          4          4             8          10 u       -            1
        Buffalo, NY
82. Hartford Beer Distributor              8/3/10 CC/MJ/VP/WaPo     Yes           No          8          2            10          11         Yes          2
        Manchester, CT
83. Yoyito Café                            6/6/10 CC/VP/WaPo        No            No          4          3             7            9v       -            -
        Hialeah, FL
84. Hot Spot Café                          4/3/10 VP/WaPo           -             No          4          2             6          50 w       -            1
        Los Angeles, CA



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                                                                 Capacity     Assault                           Fatalities &   Shots      Obtained Number of
                                                                         a              b         c         c              c          d
             Case and Location           Date       Source       Mag.?       Weapon? Fatalities Injuries         Injuries      Fired      Legally?e   Guns
                    (1)                   (2)        (3)           (4)           (5)        (6)       (7)           (8)         (9)         (10)      (11)

85. Coffee Shop Police                  11/29/09 CC/MJ/VP/WaPo     No            No          4          0             4               -     No           2
        Parkland, WA
86. Fort Hood                           11/5/09 CC/MJ/VP/WaPo      Yes           No         13        32             45         214         Yes          1
        Fort Hood, TX
87. Worth Street                        11/1/09 VP/WaPo            -             Yes         4          0             4          16 x       No           1
        Mount Airy, NC
88. Binghamton                           4/3/09 CC/MJ/VP/WaPo      Yes           No         13          4            17          99         Yes          2
        Binghamton, NY
89. Carthage Nursing Home               3/29/09 CC/MJ/VP/WaPo      No            No          8          2            10               -     Yes          2
        Carthage, NC
90. Skagit County                        9/2/08 VP/WaPo            -             No          6          4            10               -     No           2
        Alger, WA
91. Atlantis Plastics                   6/25/08 CC/MJ/VP/WaPo      No            No          5          1             6               -     Yes          1
        Henderson, KY
92. Black Road Auto                     3/18/08 VP/WaPo            -             No          4          0             4          17 y       -            1
        Santa Maria, CA
93. Northern Illinois University        2/14/08 CC/MJ/VP/WaPo      Yes           No          5        21             26          54         Yes          4
        DeKalb, IL
94. Kirkwood City Council                2/7/08 CC/MJ/VP/WaPo      No            No          6          1             7               -     No           2
        Kirkwood, MO
95. Youth With a Mission and New Life   12/9/07 VP/WaPo            Yes           Yes         4          5             9          25 z       -            3
    Church
96. Westroads Mall                      12/5/07 CC/MJ/VP/WaPo      Yes           Yes         8          5            13          14         No           1
        Omaha, NE



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                                                                   Capacity     Assault                           Fatalities &   Shots      Obtained Number of
                                                                           a              b         c         c              c          d
               Case and Location            Date      Source       Mag.?       Weapon? Fatalities Injuries         Injuries      Fired      Legally?e   Guns
                       (1)                  (2)        (3)           (4)           (5)        (6)       (7)           (8)         (9)         (10)      (11)

 97. Crandon                               10/7/07 CC/MJ/WaPo        Yes           -           6          1             7          30 aa      Yes          1
         Crandon, WI
 98. Virginia Tech                         4/16/07 CC/MJ/VP/WaPo     Yes           No         32        17             49         176         Yes          2
         Blacksburg, VA
 99. Trolley Square                        2/12/07 CC/MJ/VP/WaPo     No            No          5          4             9               -     No           2
         Salt Lake City, UT
100. Amish School                          10/2/06 CC/MJ/VP/WaPo     No            No          5          5            10               -     Yes          3
         Lancaster County, PA
101. The Ministry of Jesus Christ          5/21/06 VP/WaPo           -             No          5          1             6               -     -            1
         Baton Rouge, LA
102. Capitol Hill                          3/25/06 CC/MJ/VP/WaPo     Yes           Yes         6          2             8               -     Yes          4
         Seattle, WA
103. Goleta Postal                         1/30/06 CC/MJ/VP/WaPo     Yes           No          7          0             7               -     Yes          1
         Goleta, CA
104. Sash Assembly of God                  8/29/05 VP/WaPo           -             No          4          0             4               -     -            2
         Sash, TX
105. Red Lake                              3/21/05 CC/MJ/VP/WaPo     No            No          9          7            16               -     No           3
         Red Lake, MN
106. Living Church of God                  3/12/05 CC/MJ/VP/WaPo     Yes           No          7          4            11               -     Yes          1
         Brookfield, WI
107. Fulton County Courthouse              3/11/05 VP/WaPo           -             No          4          0             4               -     No           1
         Atlanta, GA
108. Damageplan Show                       12/8/04 CC/MJ/VP/WaPo     No            No          4          3             7          15 ab      Yes          1
         Columbus, OH



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                                                                   Capacity     Assault                           Fatalities &   Shots      Obtained Number of
                                                                           a              b         c         c              c          d
               Case and Location            Date        Source     Mag.?       Weapon? Fatalities Injuries         Injuries      Fired      Legally?e   Guns
                       (1)                  (2)          (3)         (4)           (5)        (6)       (7)           (8)         (9)         (10)      (11)

109. Hunting Camp                         11/21/04 CC/VP/WaPo        Yes           Yes         6          2             8          20         -            1
          Meteor, WI
110. ConAgra Foods Plant                    7/3/04 VP/WaPo           -             No          6          1             7          10 ac      -            2
          Kansas City, KS
111. Stateline Tavern                     10/24/03 VP/WaPo           Yes           No          4          0             4          14 ad      -            1
          Oldtown, ID
112. Windy City Warehouse                  8/27/03 CC/VP/WaPo        No            No          6          0             6               -     -            -
          Chicago, IL
113. Lockheed Martin                        7/8/03 CC/MJ/VP/WaPo     -             No          6          8            14               -     Yes          5
          Meridian, MS
114. Labor Ready                           2/25/03 VP/WaPo           -             No          4          1             5               -     -            1
          Huntsville, AL
115. Bertrand Products                     3/22/02 VP/WaPo           -             No          4          2             6               -     -            2
          South Bend, IN
116. Burns International Security          9/10/01 VP/WaPo           Yes           Yes         5          2             7         200 ae      -            2
          Sacramento, CA
117. Bookcliff RV Park                      7/3/01 VP/WaPo           No            No          4          3             7            6 af     -            1
          Rifle, CO
118. Navistar                               2/5/01 CC/MJ/VP/WaPo     Yes           No          4          4             8               -     Yes          4
          Melrose Park, IL
119. Houston                                1/9/01 VP                -             No          4          0             4               -     -            -
          Houston, TX
120. Wakefield                            12/26/00 CC/MJ/VP/WaPo     Yes           -           7          0             7          37         Yes          3
          Wakefield, MA



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                                                                   Capacity     Assault                           Fatalities &   Shots      Obtained Number of
                                                                           a              b         c         c              c          d
               Case and Location            Date      Source       Mag.?       Weapon? Fatalities Injuries         Injuries      Fired      Legally?e   Guns
                       (1)                  (2)        (3)           (4)           (5)        (6)       (7)           (8)         (9)         (10)      (11)

121. Mount Lebanon                         4/28/00 VP/WaPo           No            No          5          1             6               -     Yes          1
          Pittsburgh, PA
122. Mi-T-Fine Car Wash                    3/20/00 VP/WaPo           -             No          5          1             6               -     -            -
          Irving, TX
123. Hotel                                12/30/99 CC/MJ/VP/WaPo     No            No          5          3             8               -     Yes          2
          Tampa, FL
124. Xerox                                 11/2/99 CC/MJ/VP/WaPo     Yes           No          7          0             7          28         Yes          1
          Honolulu, HI
125. Wedgwood Baptist Church               9/15/99 CC/MJ/VP/WaPo     Yes           No          7          7            14          30         Yes          2
          Fort Worth, TX
126. Atlanta Day Trading                   7/29/99 MJ/VP/WaPo        -             No          9        13             22               -     Yes          4
          Atlanta, GA
127. Albertson's Supermarket                6/3/99 VP/WaPo           -             No          4          1             5               -     -            1
          Las Vegas, NV
128. Columbine High School                 4/20/99 CC/MJ/VP/WaPo     Yes           Yes        13        23             36         188         No           4
          Littleton, CO
129. St. John Fellowship Baptist Church    3/10/99 VP/WaPo           -             No          4          4             8               -     -            1
          Gonzalez, LA
130. Thurston High School                  5/21/98 CC/MJ/VP/WaPo     Yes           No          4        25             29          50         No           3
          Springfield, OR
131. Westside Middle School                3/24/98 CC/MJ/VP/WaPo     Yes           No          5        10             15          26         No        9/10
          Jonesboro, AR
132. Connecticut Lottery                    3/6/98 CC/MJ/VP/WaPo     Yes           No          4          0             4            5        Yes          1
          Newington, CT



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                                                                  Capacity     Assault                           Fatalities &   Shots      Obtained Number of
                                                                          a              b         c         c              c          d
              Case and Location            Date        Source     Mag.?       Weapon? Fatalities Injuries         Injuries      Fired      Legally?e   Guns
                      (1)                  (2)          (3)         (4)           (5)        (6)       (7)           (8)         (9)         (10)      (11)

133. Caltrans Maintenance Yard           12/18/97 CC/MJ/VP/WaPo     Yes           Yes         4          2             6         144         Yes          1
          Orange, CA
134. Erie Manufacturing                   12/3/97 VP                -             No          4          0             4          12 ag      -            -
          Bartow, FL
135. R.E. Phelon Company                  9/15/97 CC/MJ/VP/WaPo     No            No          4          3             7               -     No           1
          Aiken, SC
136. News and Sentinel                    8/20/97 VP/WaPo           -             Yes         4          4             8               -     -            2
          Colebrook, NH
137. Fire Station                         4/25/96 VP/WaPo           -             No          5          3             8               -     -            3
          Jackson, MS
138. Fort Lauderdale                       2/9/96 CC/MJ/VP/WaPo     No            No          5          1             6          14 ah      Yes          2
          Fort Lauderdale, FL
139. Little Chester Shoes                12/19/95 VP/WaPo           Yes           No          5          3             8               -     -            1
          New York, NY
140. Piper Technical Center               7/19/95 CC/VP/WaPo        Yes           No          4          0             4               -     -            -
          Los Angeles, CA
141. Walter Rossler Company                4/3/95 CC/MJ/VP/WaPo     No            No          5          0             5               -     Yes          2
          Corpus Christi, TX
142. Puppy creek                         12/31/94 VP                -             -           5          1             6               -     -            -
          Hoke County, NC
143. Air Force Base                       6/20/94 CC/MJ/VP/WaPo     Yes           Yes         4        23             27          50 ai      Yes          1
          Fairchild Base, WA
144. Chuck E. Cheese                     12/14/93 CC/MJ/VP/WaPo     No            No          4          1             5               -     -            1
          Aurora, CO



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                                                                  Large                                            Total                   Gun(s) Offender(s)'
                                                                 Capacity     Assault                           Fatalities &   Shots      Obtained Number of
                                                                         a              b         c         c              c          d
             Case and Location            Date        Source     Mag.?       Weapon? Fatalities Injuries         Injuries      Fired      Legally?e   Guns
                     (1)                  (2)           (3)        (4)           (5)        (6)       (7)           (8)         (9)         (10)      (11)

145. Long Island Railroad                12/7/93 CC/MJ/VP/WaPo     Yes           No          6        19             25          30         Yes          1
         Garden City, NY
146. Unemployment Office                 12/2/93 VP/WaPo           -             -           4          4             8               -     -            -
         Oxnard, CA
147. Family Fitness Club                10/14/93 VP/WaPo           -             No          4          0             4               -     Yes          1
         El Cajon, CA
148. Luigi's Restaurant                   8/6/93 CC/MJ/VP/WaPo     No            No          4          8            12               -     Yes          3
         Fayetteville, NC
149. Washington County Bar                7/8/93 WaPo              -             -           5          0             5               -     -            1
         Jackson, MS
150. 101 California Street                7/1/93 CC/MJ/VP/WaPo     Yes           Yes         8          6            14          75         No           3
         San Francisco, CA
151. Card club                           11/8/92 VP/WaPo           -             No          6          1             7               -     -            1
         Paso Robles, CA
152. Watkins Glen                       10/15/92 CC/MJ/VP/WaPo     No            No          4          0             4               -     Yes          1
         Watkins Glen, NY
153. Lindhurst High School                5/1/92 CC/MJ/VP/WaPo     No            No          4        10             14               -     Yes          2
         Olivehurst, CA
154. Phoenix                             3/15/92 VP                -             -           4          0             4               -     -            -
         Phoenix, AZ
155. Royal Oak Postal                   11/14/91 CC/MJ/VP/WaPo     Yes           No          4          4             8               -     Yes          1
         Royal Oak, MI
156. Restaurant                         11/10/91 VP/WaPo           No            No          4          0             4            6 aj     No           1
         Harrodsburg, KY



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                                                                    Large                                            Total                   Gun(s) Offender(s)'
                                                                   Capacity     Assault                           Fatalities &   Shots      Obtained Number of
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              Case and Location            Date       Source       Mag.?       Weapon? Fatalities Injuries         Injuries      Fired      Legally?e   Guns
                      (1)                   (2)        (3)           (4)           (5)        (6)       (7)           (8)         (9)         (10)      (11)

157. University of Iowa                   11/1/91 CC/MJ/VP/WaPo      No            No          5          1             6               -     Yes          1
         Iowa City, IA
158. Luby's Cafeteria                     10/16/91 CC/MJ/VP/WaPo     Yes           No         23        20             43         100         Yes          2
         Killeen, TX
159. Post office                          10/10/91 VP/WaPo           Yes           Yes         4          0             4               -     -            2
         Ridgewood, NJ
160. GMAC                                 6/18/90 CC/MJ/VP/WaPo      Yes           No          9          4            13          14         Yes          2
         Jacksonville, FL
161. Standard Gravure Corporation         9/14/89 CC/MJ/VP/WaPo      Yes           Yes         8        12             20          21         Yes          5
         Louisville, KY
162. Stockton Schoolyard                  1/17/89 CC/MJ/VP/WaPo      Yes           Yes         5        29             34         106         Yes          2
         Stockton, CA
163. Montefiore School                    9/22/88 VP/WaPo            No            No          4          2             6               -     -            1
         Chicago, IL
164. Old Salisbury Road                   7/17/88 VP/WaPo            -             No          4          5             9               -     -            1
         Winston-Salem, NC
165. ESL                                  2/16/88 CC/MJ/VP/WaPo      No            No          7          4            11               -     Yes          7
         Sunnyvale, CA
166. Shopping Centers                     4/23/87 CC/MJ/VP/WaPo      Yes           No          6        14             20          40 ak      Yes          3
         Palm Bay, FL
167. United States Postal Service         8/20/86 CC/MJ/VP/WaPo      No            -          14          6            20               -     Yes          3
         Edmond, OK
168. Anchor Glass Container Corporation   3/16/85 VP/WaPo            No            No          4          1             5               -     -            1
         South Connellsville, PA



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                                                                   Capacity      Assault                           Fatalities &   Shots      Obtained Number of
                                                                            a              b         c         c              c          d
              Case and Location           Date        Source        Mag.?       Weapon? Fatalities Injuries         Injuries      Fired      Legally?e   Guns
                     (1)                  (2)           (3)           (4)           (5)        (6)       (7)           (8)         (9)         (10)      (11)

169. Other Place Lounge                  7/24/84 VP/WaPo              No            No          4          1             5               -     -            1
         Hot Springs, AR
170. San Ysidro McDonald's               7/18/84 CC/MJ/VP/WaPo        Yes           Yes        21        19             40         257         Yes          3
         San Ysidro, CA
171. Dallas Nightclub                    6/29/84 CC/MJ/VP/WaPo        Yes           No          6          1             7               -     No           1
         Dallas, TX
172. Alaska Mining Town                  5/17/84 VP/WaPo              No            No          7          0             7               -     -            1
         Manley Hot Springs, AK
173. College Station                    10/11/83 VP                   -             No          6          0             6               -     -            -
         Collge Station, TX
174. Alaska Back-County                   3/1/83 VP/WaPo              -             No          6          2             8               -     -            2
         McCarthy, AK
175. Upper West Side Hotel                2/3/83 VP                   No            No          4          1             5               -     -            1
         New York, NY
176. The Investor                         9/6/82 WaPo                 -             No          8          0             8               -     -            1
         Noyes Island, AK
177. Welding Shop                        8/20/82 MJ/VP/WaPo           No            No          8          3            11               -     Yes          1
         Miami, FL
178. Western Transfer Co.                 8/9/82 VP/WaPo              -             No          6          4            10               -     -            3
         Grand Prairie, TX
179. Russian Jack Springs Park            5/3/82 VP/WaPo              -             No          4          0             4               -     No           1
         Anchorage, AK
                                                                  Assault Weapon Average: 12             24             36         149
                                                              Non-Assault Weapon Average: 6                4            10          38


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                                                                              Exhibit B
                                                                      Public Mass Shootings Data
                                                                           1982 – Oct. 2022
                                                                                       Large                                                  Total                   Gun(s) Offender(s)'
                                                                                     Capacity       Assault                                Fatalities &   Shots      Obtained Number of
                                                                                               a              b           c            c              c          d
                Case and Location                      Date           Source           Mag.?       Weapon? Fatalities Injuries              Injuries      Fired      Legally?e   Guns
                          (1)                           (2)              (3)             (4)           (5)         (6)          (7)            (8)         (9)         (10)      (11)



                                                                        Large-Capacity Magazine Average: 10                      16             25           99
                                                                  Non-Large-Capacity Magazine Average: 6                           3             9           16


Notes and Sources:
     Public Mass Shootings from Mother Jones ("US Mass Shootings, 1982-2022: Data from Mother Jones' Investigation," updated October 14, 2022). MJ indicates a mass shooting
     identified by Mother Jones.
     The Citizens Crime Commission of New York City ("Mayhem Multiplied: Mass Shooters and Assault Weapons," February 2018 update, and "Citizens Crime Commission of New
     York City, Mass Shooting Incidents in America (1984-2012)," accessed June 1, 2017). CC indicates a mass shooting identified by Citizens Crime Commission of New York City data.
     The Washington Post ("The Terrible Numbers That Grow With Each Mass Shooting,", updated May 12, 2021). WaPo indicates a mass shooting identified by The Washington Post.
     The Violence Project ("Mass Shooter Database," updated May 14, 2022). VP indicates a mass shooting identified by the Violence Project.
 a
     Large capacity magazines are those with a capacity to hold more than 10 rounds of ammunition. Stories from Factiva and Google searches reviewed to determine whether an

     LCM was involved.
 b
     See Exhibit C for details.
 c
     Offender(s) are not included in counts of fatalities and injuries. Stories from Factiva and Google searches reviewed to determine number of fatalities and injuries.
 d
     Except where noted, all data on shots fired obtained from CC.
 e
     The determination of whether guns were obtained legally is based on Mother Jones and The Washington Post reporting.
ba
     "'This is the norm in our country': Highland Park Mayor speaks to Senate committee about gun violence," CBS Chicago , July 20, 2022.


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                                                                             Exhibit B
                                                                     Public Mass Shootings Data
                                                                          1982 – Oct. 2022
                                                                                      Large                                                Total                   Gun(s) Offender(s)'
                                                                                    Capacity       Assault                              Fatalities &   Shots      Obtained Number of
                                                                                              a              b            c         c              c          d
                Case and Location                      Date          Source           Mag.?       Weapon? Fatalities Injuries            Injuries      Fired      Legally?e   Guns
                          (1)                           (2)             (3)             (4)           (5)           (6)       (7)           (8)         (9)         (10)      (11)

bb
     MJ reported "fewer than 10" injuries for this incident.
bc
     "Update: Man among those killed held door to allow others to escape, Tulsa police chief says," TulsaWorld , June 2, 2022.
bd
     "The gunman in Uvalde carried more ammunition into Robb Elementary School than a U.S. soldier carries into combat," CBS News , May 27, 2022. Note the number of shots fired

     has been updated since Allen 2022 in Duncan v. Rob Bonta which listed 315 shots fired based on the number of rounds found at the school.
be
     "Uvalde gunman legally bought AR rifles days before shooting, law enforcement says," The Texas Tribune , May 25, 2022.
bf
     "Buffalo shooting suspect says his motive was to prevent 'eliminating the white race'," NPR , June 16, 2022.
bg
     "Sacramento Church Mass Shooting Follows Disturbing Trend of Domestic Violence, Mass Shooting Connection; Rise of Ghost Guns," Everytown , March 7, 2022.
bh
     "Oxford High School shooter fired 30 rounds, had 18 more when arrested, sheriff says," Fox2Detroit , December 1, 2021.
bi
     "Father of suspected Oxford High School shooter bought gun 4 days before shooting," Fox 2 Detroit , December 1, 2021.
bj
     "VTA shooter fired 39 rounds during attack; carried 32 high-capacity magazines," KTVU Fox 2 , May 27, 2021.
bk
     "Sam Cassidy legally owned guns used in San Jose VTA shooting: Sheriff," Kron4 , May 28, 2021.
bl
     "Colorado Springs shooter who killed 6 at party had “displayed power and control issues,” police say," The Denver Post , May 11, 2021.
bm
     "Indianapolis FedEx Shooter Who Killed 4 Sikhs Was Not Racially Motivated, Police Say," NPR , July 28, 2021.
bn
     "Police Investigate Three Separate Fatal Shooting Incidents In Baltimore County," Baltimore County Government Website , March 29, 2021.
bo
     "Atlanta Shooting Suspect Bought Gun on Day of Rampage," Courthouse News , March 26, 2021.




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                                                                            Exhibit B
                                                                    Public Mass Shootings Data
                                                                         1982 – Oct. 2022
                                                                                     Large                                               Total                   Gun(s) Offender(s)'
                                                                                   Capacity       Assault                             Fatalities &   Shots      Obtained Number of
                                                                                             a               b         c          c              c          d
                Case and Location                    Date           Source          Mag.?        Weapon? Fatalities Injuries           Injuries      Fired      Legally?e   Guns
                         (1)                          (2)              (3)             (4)          (5)          (6)        (7)           (8)         (9)         (10)      (11)

bp
     "Search warrant reveals new information in Springfield Kum & Go shooting," Springfield News-Leader , April 8, 2020.
bq
     "'There was no warning this was going to happen,' Miller shooting witnesses told investigators," WISN 12 News , November 24, 2020.
br
     "Milwaukee Miller brewery shooting: Six Molson Coors workers, including shooter, dead in rampage," Milwaukee Journal Sentinel , February 26, 2020.
 f
     "The Dayton gunman killed 9 people by firing 41 shots in 30 seconds. A high-capacity rifle helped enable that speed," CNN , August 5, 2019.
 g
     "Authorities Describe 'Confusion And Chaos' At Borderline Bar Shooting In California," NPR , November 28, 2018.
 h
     "Suspect in quadruple killing at car wash dies," CNN, January 30, 2018.
 i
     "California gunman fired 30 rounds at elementary school, left when he couldn't get inside," ABC News , November 15, 2017.
 j
     "'Be quiet! It's him!' Survivors say shooter walked pew by pew looking for people to shoot," CNN , November 9, 2017.
 k
     "Sheriff Says More than 1,100 Rounds Fired in Las Vegas," Las Vegas Review Journal , November 22, 2017
 l
     "Fort Lauderdale Shooting Suspect Appears in Court, Ordered Held Without Bond," Washington Post , January 9, 2017.
m
     "'We Thought It Was Part of the Music': How the Pulse Nightclub Massacre Unfolded in Orlando," The Telegraph , June 13, 2016.
 n
     "Two men charged with homicide in connection with Wilkinsburg backyard ambush," Pittsburgh's Action News , June 24, 2016.
 o
     "San Bernardino Suspects Left Trail of Clues, but No Clear Motive," New York Times , December 3, 2015.
 p
     "Sheriff: Elliot Rodger Fired 50-plus Times in Isle Vista Rampage," Los Angeles Times , June 4, 2014.
 q
     "Shooter Set $10,000 on Fire in Hialeah Shooting Rampage," NBC News , July 28, 2013.




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                                                                          1982 – Oct. 2022
                                                                                      Large                                               Total                   Gun(s) Offender(s)'
                                                                                    Capacity       Assault                             Fatalities &   Shots      Obtained Number of
                                                                                              a              b           c         c              c          d
                Case and Location                     Date           Source          Mag.?        Weapon? Fatalities Injuries           Injuries      Fired      Legally?e   Guns
                         (1)                           (2)              (3)             (4)          (5)           (6)       (7)           (8)         (9)         (10)      (11)

 r
     "Police Call Santa Monica Gunman 'Ready for Battle,'" New York Times , June 8, 2013.
 s
     "Questions linger in slayings; investigation continues in rampage as community searches for answers on why gunman shot eight people," The Beacon Journal , August 14, 2011.
 t
     "Kentucky Tragedy: Man Kills Wife, Five Others, in Rampage Over Cold Eggs, Say Cops," CBS News , September 13, 2010.
u
     "Ex-gang member guilty of shooting 5 in deadly 17-second rampage," NBC , April 1, 2011.
v
     "Hialeah Gunman's Rage Over Estranged Wife Leaved 5 Dead," Sun-Sentinel , June 7, 2010.
w
     "Man convicted of killing 4 at Los Angeles restaurant," Associated Press , March 15, 2016.
x
     "4 Victims In Mount Airy Shooting Related, Police Say," WXII 12 News , November 2, 2009.
 y
     "Arrested suspect might have warned of Santa Maria shooting", Associated Press , March 20, 2008.
 z
     "Profile: New information released on Matthew Murray, gunman in church-related shootings in Colorado; Larry Bourbannais, wounded in one of the shootings, discusses his

     experience," NBC News, December 11, 2007.
aa
     "Small Town Grieves for 6, and the Killer," Los Angeles Times , October 9, 2007.
ab
     "National Briefing | Midwest: Ohio: Shooter At Club May Have Reloaded," New York Times , January 15, 2005.
ac
     "Sixth person dies of injuries from shooting at Kansas meatpacking plant," Associated Press , July 3, 2004.
ad
     "Four Killed In Oldtown Shooting," The Miner , October 30, 2003.
ae
     "Sacramento shooter unscathed before killing self, autopsy shows," Associated Press , September 14, 2001.




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                                                                         1982 – Oct. 2022
                                                                                     Large                                                Total                     Gun(s) Offender(s)'
                                                                                    Capacity      Assault                              Fatalities &   Shots        Obtained Number of
                                                                                             a              b          c           c              c            d
                Case and Location                    Date            Source          Mag.?       Weapon? Fatalities Injuries            Injuries      Fired        Legally?e   Guns
                         (1)                           (2)             (3)             (4)           (5)         (6)         (7)           (8)           (9)         (10)      (11)

af
     "Gunman kills 3, wounds 4 in Rifle rampage; mental patient is arrested," The Denver Post , April 2, 2015.
ag
     "Unfinished business," Dateline NBC , December 21, 2006.
ah
     "5 Beach Workers in Florida are Slain by Ex-Colleague," New York Times , February 10, 1996.
ai
     "Man Bent On Revenge Kills 4, Hurts 23 -- Psychiatrist Is First Slain In Rampage At Fairchild Air Force Base," The Seattle Times , June 21, 1994.
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     "Man Killed Estranged Wife, Three Others as They Drove to Dinner," Associated Press , November 11, 1991.
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                                                                                      Exhibit C
                                                                    List of Firearms Used in Public Mass Shootings
                                                                                   1982 – Oct. 2022
                                                                                                            Weapon Description From                                                       Assault
                                                                                                      a                                     b                                 c                     d
               Case                  Location         Date                  Citizens Crime Commission                        Mother Jones                    Washington Post             Weapon?

                (1)                      (2)           (3)                             (4)                                          (5)                               (6)                   (7)



 1. Raleigh spree shooting       Hedingham, NC       10/13/22                                                       shotgun, semiautomatic handgun                                         -
      Highland Park July 4                                                                                          AR-15 style rifle, possibly
 2.                              Highland Park, IL     7/4/22                                                                                                                              -
      parade shooting                                                                                               modified for rapid fire
      Tulsa medical center
 3.                              Tulsa, OK             6/1/22                                                       AR-15 style rifle                                                      -
      shooting
      Robb Elementary School
 4.                              Uvalde, TX           5/24/22                                                       semiautomatic rifles                                                   Yes ca
      massacre
      Buffalo supermarket                                                                                           Bushmaster XM-15
 5.                              Buffalo, NY          5/14/22                                                                                                                              Yes
      massacre                                                                                                      semiautomatic rifle
      Sacramento County church
 6.                              Sacramento, CA       2/28/22                                                       AR-15-style "ghost gun"                                                -
      shooting
      Oxford High School
 7.                              Oxford, MI          11/30/21                                                       Sig Sauer 9mm pistol                                                   No cb
      shooting
 8. San Jose VTA shooting        San Jose, CA         5/26/21                                                       semiautomatic handguns                                                 No cc
      Canterbury Mobile Home     Colorado Springs,
 9.                                                    5/9/21                                                                                        Smith & Wesson handgun                -
      Park shooting              CO
                                                                                                                                                     Ruger AR 556, HM Defense
10. FedEx warehouse shooting     Indianapolis, IN     4/15/21                                                       semiautomatic rifle                                                    Yes cd
                                                                                                                                                     HM15F Rifle
    Orange office complex
11.                              Orange, CA           3/31/21                                                       semiautomatic handgun            Glock semiautomatic handgun           -
    shooting
    Essex Royal Farms            Baltimore County,
12.                                                   3/28/21                                                                                        -                                     -
    shooting                     MD
    King Soopers supermarket
13.                              Boulder, CO          3/22/21                                                       Ruger AR-556                     Ruger AR 556 pistol, 9mm pistol       Yes ce
    shooting
    Atlanta massage parlor
14.                              Atlanta, GA          3/16/21                                                       semiautomatic handgun            9mm handgun                           -
    shootings
15. Hyde Park shooting           Chicago, IL           1/9/21                                                                                        .45-caliber pistol                    -
    Englewood block party
16.                              Chicago, IL           7/4/20                                                                                        -                                     -
    shooting
    Springfield convenience                                                                                         SKS 7.62-caliber rifle; Glock
17.                              Springfield, MO      3/15/20                                                                                        Glock 9mm, SKS 7.62-caliber rifle     -
    store shooting                                                                                                  9mm
18. Molson Coors shooting        Milwaukee, WI        2/26/20                                                       semiautomatic handgun            Handgun                               -
                                                                                                                                                     mossberg 12-gauge; .22-caliber
    Jersey City Kosher                                                                                                                               ruger Mark IV; AR-15-style rifle;
19.                              Jersey City, NJ     12/10/19   -                                                   -                                                                      No
    Supermarket                                                                                                                                      Ruger 9mm semiautomatic pistol;
                                                                                                                                                     9mm glock 17

20. Football-watching party      Fresno, CA          11/17/19   -                                                   -                                two semiautomatic handguns            No


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                                                                                    Exhibit C
                                                                  List of Firearms Used in Public Mass Shootings
                                                                                 1982 – Oct. 2022
                                                                                                          Weapon Description From                                                            Assault
                                                                                                    a                                       b                                      c                     d
                Case                 Location       Date                  Citizens Crime Commission                        Mother Jones                         Washington Post             Weapon?

                 (1)                     (2)         (3)                             (4)                                          (5)                                     (6)                  (7)

21. Halloween Party              Orinda, CA         11/1/19   -                                                   -                                      -                                    -
22. Tequila KC bar               Kansas City, KS    10/6/19   -                                                   -                                      Handgun                              No

23. Midland-Odessa Highways      Odessa, TX         8/31/19   -                                                   semiautomatic rifle                    AR-style rifle                       Yes e
                                                                                                                                                         23 caliber anderson AM-15 pistol
                                                                                                                  AR-15-style rifle, with a 100-
24. Dayton                       Dayton, OH          8/4/19   -                                                                                          modified to function like an AR-     Yes cf
                                                                                                                  round capacity ammunition drum
                                                                                                                                                         15 rifle, shotgun
25. El Paso Walmart              El Paso, TX         8/3/19   -                                                   AK-47-style rifle, per authorities     7.62 caliber AK-47 style rifle       Yes
      Casa Grande Senior
26.                              Santa Maria, CA    6/19/19   -                                                   -                                      -                                    -
      Mobile Estates
                                                                                                                  .45-caliber handguns; noise
      Virginia Beach Municipal   Virginia Beach,                                                                                                         .45 caliber handgun with noise
27.                                                 5/31/19   -                                                   suppressor (silencer); several high-                                        No
      Center                     VA                                                                                                                      suppressor, .45 caliber handgun
                                                                                                                  capacity magazines
                                                                                                                  Smith & Wesson handgun, with a         .40-caliber Smith & Wesson
28. Henry Pratt Co.              Aurora, IL         2/15/19   -                                                                                                                               No
                                                                                                                  green sighting laser                   semiautomatic handgun
29. SunTrust Bank                Sebring, FL        1/23/19   -                                                   9 mm handgun                           9mm semiautomatic handgun            No
                                 Thousand Oaks,                                                                   Glock 21, .45 caliber; high-
30. Borderline Bar & Grill                          11/7/18   -                                                                                          Glock 21 .45-caliber handgun         No
                                 CA                                                                               capacity magazine
                                                                                                                                                         Colt AR-15 semiautomatic rifle;
31. Tree of Life Synagogue       Pittsburgh, PA    10/27/18   -                                                   AR-15; Glock .357                                                           Yes f
                                                                                                                                                         three glock .357 pistols
32. T&T Trucking                 Bakersfield, CA    9/12/18   -                                                   -                                      .50-caliber Smith & Wesson 500       No g

33. Capital Gazette              Annapolis, MD      6/28/18   -                                                   12-gauge pump-action shotgun           2 gauge shotgun                      No
34. Santa Fe High School         Santa Fe, TX       5/18/18   -                                                   shotgun; .38 revolver                  .38 caliber revolver, shotgun        No

35. Waffle House                 Nashville, TN      4/22/18   -                                                   AR-15                                  AR-15-style semiautomatic rifle      Yes h

36. Detroit                      Detroit, MI        2/26/18   -                                                   -                                      -                                    No

                                                                                                                                                         .223 caliber smith & wesson M&P
37. Stoneman Douglas HS          Parkland, FL       2/14/18   -                                                   AR-15                                                                       No i
                                                                                                                                                         15 semiautomatic ar 15 rifle

                                                                                                                  semiautomatic rifle and                AR-15 .223-caliber semiautomatic            j
38. Pennsylvania Carwash         Melcroft, PA       1/28/18   -                                                                                                                               -
                                                                                                                  semiautomatic handgun                  rifle; 9mm handgun
                                 Rancho Tehama,                                                                                                          two semiautomatic rifles; two
39. Rancho Tehama                                  11/14/17   -                                                   Two illegally modified rifles                                               Yes k
                                 CA                                                                                                                      handguns




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                                                                                    Exhibit C
                                                                  List of Firearms Used in Public Mass Shootings
                                                                                 1982 – Oct. 2022
                                                                                                          Weapon Description From                                                        Assault
                                                                                                    a                                     b                                    c                   d
                Case                 Location       Date                  Citizens Crime Commission                        Mother Jones                      Washington Post            Weapon?

                 (1)                     (2)         (3)                             (4)                                         (5)                                  (6)                  (7)

                                                                                                                  Ruger AR-556; Kelley also
                                 Sutherland                                                                       possessed semiautomatic            9mm Glock pistol; Ruger .22-
40. Texas First Baptist Church                      11/5/17   -                                                                                                                           Yes l
                                 Springs, TX                                                                      handguns                           caliber; Ruger AR-556

                                                                                                                  AR-15-style and AK-47-style
                                                                                                                  rifles and "a large cache of
                                                                                                                  ammunition"; four Daniel
41. Las Vegas Strip              Las Vegas, NV      10/1/17   -                                                                                      -                                    Yes m
                                                                                                                  Defense DDM4 rifles, three FN-
                                                                                                                  15s and other rifles made by Sig
                                                                                                                  Sauer.
      Taos and Rio Arriba
42.                              Abiquiu, NM        6/15/17   -                                                   -                                  .38 caliber revolver                 No
      counties
                                                                                                                                                     semiautomatic rifle (2); handgun
43. Fiamma Workplace             Orlando, FL         6/5/17   -                                                   semiautomatic handgun                                                   No
                                                                                                                                                     (2)
44. Marathon Savings Bank        Rothschild, WI     3/22/17   -                                                   -                                  Rifle, handgun                       No
45. Club 66                      Yazoo City, MS      2/6/17   -                                                   -                                  -                                    -
                                 Fort Lauderdale,                                                                 Walther 9mm semi-automatic
46. Fort Lauderdale Airport                          1/6/17   -                                                                                      9mm semiautomatic handgun            No
                                 FL                                                                               pistol
47. Cascade Mall                 Burlington, WA     9/23/16   -                                                   Ruger .22-caliber                  Ruger .22-caliber rifle              No n
                                                                                                                  Izhmash-Saiga 5.45mm (AK-
                                                                                                                  style) semiautomatic rifle with
48. Dallas Police                Dallas, TX          7/7/16   -                                                   large capacity magazines; Glock    SKS-type semiautomatic rifle         Yes o
                                                                                                                  9mm handgun, .25-caliber
                                                                                                                  semiautomatic handgun
49. Walgreens Parking Lot        Las Vegas, NV      6/29/16   -                                                   -                                  -                                    -
                                                                                                                  Sig Sauer MCX rifle, Glock 17      .223-caliber Sig Sauer MCX
50. Orlando Nightclub            Orlando, FL        6/12/16   -                                                   9mm; high-capacity magazines       semiautomatic rifle; 9mm             Yes p
                                                                                                                  (30 rounds)                        semiautomatic glock 17 pistol
                                                                                                                                                     AK-47-style rifle, .40-caliber
51. Franklin Avenue Cookout      Wilkinsburg, PA     3/9/16   -                                                   -                                                                       Yes
                                                                                                                                                     handgun
                                 Kalamazoo                                                                        9 mm handgun (ammo used            Walther P-99 9mm semiautomatic
52. Kalamazoo                                       2/20/16   -                                                                                                                           No
                                 County, MI                                                                       unclear)                           handgun
                                                                                                                  Two semiautomatic AR-15-style
                                                                                                                  rifles—one a DPMS A-15, the        DPMS AR-15-style rifle; Smith
                                                                                                                  other a Smith & Wesson             & Wesson M&P AR-15-style
                                 San Bernardino,
53. San Bernardino                                  12/2/15   -                                                   M&P15, both with .223 calibre      rifle; Llama semiautomatic 9mm       Yes q
                                 CA
                                                                                                                  ammunition. Two 9mm                pistol; Smith & Wesson
                                                                                                                  semiautomatic handguns. High       semiautomatic 9mm pistol
                                                                                                                  capacity magazines.


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                                                                                  Exhibit C
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                                                                               1982 – Oct. 2022
                                                                                                        Weapon Description From                                                          Assault
                                                                                                  a                                       b                                      c                 d
                 Case            Location         Date                  Citizens Crime Commission                          Mother Jones                      Washington Post            Weapon?

                 (1)                (2)            (3)                             (4)                                          (5)                                   (6)                  (7)

      Tennessee Colony       Anderson County,
54.                                              11/15/15   -                                                   -                                   -                                     -
      campsite               TX
                                                                                                                9 mm Glock pistol, .40 caliber
      Umpqua Community                                                                                          Smith & Wesson, .40 caliber
55.                          Roseburg, OR         10/1/15   -                                                                                       rifle; five pistols                   No r
      College                                                                                                   Taurus pistol, .556 caliber Del-
                                                                                                                Ton; (ammo details unclear)
                                                                                                                                                    AR-15-style semiautomatic rifle;
      Chattanooga Military                                                                                      AK-47, AR-15, and 30-round
56.                          Chattanooga, TN      7/16/15   -                                                                                       9mm pistol; AK-47-type                Yes s
      Center                                                                                                    magazines; 9mm handgun
                                                                                                                                                    semiautomatic rifle
                                                                                                                .45-caliber Glock (model 41, with
57. Charleston Church        Charleston, SC       6/17/15   -                                                                                       .45-caliber glock 41 pistol           No
                                                                                                                13-round capacity magazine)

58. Marysville High School   Marysville, WA      10/24/14   -                                                   Beretta .40-caliber handgun         .40-caliber beretta pistol            No
                                                                                                                Two Sig Sauer P226
                                                                                                                semiautomatic pistols and Glock
                                                                                                                34 pistol, and hundreds of rounds   Sig Sauer P226s pistol; Glock 34
59. Isla Vista               Santa Barbara, CA    5/23/14   -                                                                                                                             No
                                                                                                                of ammo. A 6- inchand 8-inch        pistol; Sig Sauer P226s pistol
                                                                                                                “SRK” and “Boar Hunter” hunting
                                                                                                                knives.
60. Alturas Tribal           Alturas, CA          2/20/14   -                                                   9mm semi-automatic handgun          Unknown                               No

                                                                                                                Remington 870 Express 12-gauge      beretta pistol; Remington 970
61. Washington Navy Yard     Washington, D.C.     9/16/13   -                                                                                                                             No
                                                                                                                shotgun; Beretta handgun            Express 12-gauge shotgun

62. Hialeah                  Hialeah, FL          7/26/13   -                                                   Glock 17                            Glock 17 pistol                       No

                                                                                                                .223-caliber semi-automatic
                                                                                                                                                    Black powder .33-caliber
                                                                                                                assault rifle, about 40 high
63. Santa Monica             Santa Monica, CA      6/7/13   -                                                                                       handgun; AR-15 type .223-             Yes t
                                                                                                                capacity magazines, "black
                                                                                                                                                    caliber semiautomatic rifle
                                                                                                                powder" handgun (likely antique)
                                                                                                                .40 caliber semi-automatic          .40 caliber semiautomatic pistol;
64. Federal Way              Federal Way, WA      4/21/13   -                                                                                                                             No u
                                                                                                                handgun, pistol grip shotgun        pistol grip shotgun
                             Herkimer County,
65. Upstate New York                              3/13/13   -                                                   Unknown                             Unknown                               No v
                             NY




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                                                                          1982 – Oct. 2022
                                                                                                                  Weapon Description From                                                         Assault
                                                                                                        a                                          b                                  c                     d
              Case               Location       Date                     Citizens Crime Commission                                  Mother Jones                     Washington Post             Weapon?

               (1)                  (2)          (3)                                    (4)                                               (5)                                (6)                    (7)

                                                          An unknown make and model .22-caliber rifle, a
                                                          Bushmaster XM15 .223-caliber semiautomatic assault
                                                          rifle equipped with a 30-round large capacity ammunition
                                                          magazine, and a GLOCK 10mm handgun were used.                                                       9mm SIG Sauer P226 pistol
                                                                                                                            10mm Glock, 9mm SIG Sauer
                                                          According to the Danbury State's Attorney, police also                                              ;Savage Mark II bolt-action .22-
                                                                                                                            P226 semiautomatic handguns;
                                                          recovered in Lanza's possession a SIG SAUER P226 9mm                                                caliber rifle; .223 Bushmaster
                                                                                                                            .223 Bushmaster XM15-E2S
66. Newtown School           Newtown, CT       12/14/12   handgun and three loaded 30-round large capacity ammunition                                         XM15-E2S semiautomatic rifle;        Yes w
                                                                                                                            semiautomatic rifle; Izhmash
                                                          magazines for the Bushmaster. Six additional 30-round large                                         izhmash Saiga 12-gauge
                                                                                                                            Saiga-12 12-gauge semiautomatic
                                                          capacity ammunition magazines were recovered at the scene.                                          semiautomatic shotgun; 10mm
                                                                                                                            shotgun
                                                          A loaded unknown make and model 12-gauge shotgun was                                                Glock pistol
                                                          found in the passenger compartment of the car (later moved to
                                                          the trunk by police). All of the guns used in the shooting were
                                                          purchased by Lanza's mother.

                                                          GLOCK 19 9mm semiautomatic pistol equipped with a 15-
                                                          round large capacity ammunition magazine. Engeldinger
                                                          purchased the firearm one year before the shooting at KGS
                                                                                                                            9mm Glock semiautomatic
67. Accent Signage Systems   Minneapolis, MN    9/27/12   Guns and Ammo in Minneapolis after passing a background                                             9mm glock pistol                     No
                                                                                                                            handgun
                                                          check and obtaining a permit to purchase. Police reportedly
                                                          found packaging for 10,000 rounds of ammunition and
                                                          another handgun in Engeldinger's home.


                                                          Springfield Armory XD(M) 9mm semiautomatic handgun
                                                          equipped with a 19-round large capacity ammunition
                                                          magazine. Weeks before the shooting, Wade legally purchased
                                                          the handgun and three 19-round large capacity ammunition
                                                          magazines from a federal firearms licensed dealer in nearby
                                                          West Allis, WI. According to media reports, Wade served in
                                                          the U.S. Army from 1992 until 1998, when he was given an
                                                                                                                            9mm Springfield Armory XDM        9mm springfield armory XDM
68. Sikh Temple              Oak Creek, WI       8/5/12   other-than-honorable discharge or general discharge. In 1994,                                                                            No
                                                                                                                            semiautomatic handgun             pistol
                                                          while stationed at Fort Bliss in Texas, he was arrested by El
                                                          Paso police, and pled guilty to a misdemeanor charge of
                                                          criminal mischief. Federal law does not prohibit persons with
                                                          convictions for misdemeanors other than domestic violence
                                                          misdemeanors or persons who have been discharged from the
                                                          military for reasons other than "dishonorably" from
                                                          purchasing firearms.




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                                                                             1982 – Oct. 2022
                                                                                                                Weapon Description From                                                            Assault
                                                                                                      a                                          b                                     c                     d
                 Case          Location         Date                     Citizens Crime Commission                                Mother Jones                       Washington Post              Weapon?

                   (1)            (2)            (3)                                   (4)                                               (5)                                  (6)                    (7)


                                                          A Smith & Wesson M&P15 assault rifle equipped with a
                                                          100-round drum large capacity ammunition magazine, a
                                                          Remington Model 870 12-gauge pump shotgun, and two
                                                                                                                         Two .40-caliber Glock
                                                          GLOCK .40 caliber handguns, were recovered at the scene by                                         .40-caliber glock pistol; 12-gauge
                                                                                                                         semiautomatic handguns; .223-
                                                          police. In the months leading to the shooting, Holmes                                              pump-action Remington 870
                                                                                                                         caliber Smith & Wesson
69. Aurora Movie Theater   Aurora, CO           7/20/12   purchased the weapons and 6,000-rounds of ammunition at                                            shotgun; .223-caliber Smith &          Yes x
                                                                                                                         M&P15 semiautomatic rifle; 12-
                                                          gun shops and over the Internet. In addition to the weapons                                        Wesson M&P15 semiautomatic
                                                                                                                         gauge Remington 870 pump-
                                                          used in the shooting, Holmes booby-trapped his apartment,                                          AR-15-style rifle
                                                                                                                         action shotgun
                                                          rigging trip wire to detonate 30 plastic shells stuffed with
                                                          gunpowder, several glass jars filled with gasoline and
                                                          gunpowder, and 10 gallons of gasoline in canisters.
                                                                                                                         Two .45-caliber semiautomatic
70. Seattle Café           Seattle, WA          5/30/12   -                                                                                                  .45-caliber pistol (2)                 No
                                                                                                                         handguns
                                                                                                                         .45-caliber semiautomatic
71. Oikos University       Oakland, CA           4/2/12   -                                                                                                  .45-caliber pistol                     No
                                                                                                                         handgun
                                                                                                                         .45-caliber semiautomatic
72. Su Jung Health Sauna   Norcross, GA         2/22/12   -                                                                                                  -                                      No
                                                                                                                         handgun
                                                                                                                         .45-caliber Heckler & Koch, 9mm
                                                                                                                         Springfield semiautomatic
73. Seal Beach             Seal Beach, CA      10/14/11   -                                                                                                  -                                      No
                                                                                                                         handguns; .44 Magnum Smith &
                                                                                                                         Wesson revolver

                                                          AK-47 type assault rifle equipped with a 30-round large        AK-47 Norinco Arms variant,
                                                                                                                                                             AK-47 variant semiautomatic
74. IHOP                   Carson City, NV       9/6/11   capacity ammunition magazine. Two additional guns and two      AK-47 Romarm Cugir variant                                                 Yes y
                                                                                                                                                             rifle
                                                          more magazines were found in his vehicle.                      rifles; .38-caliber Colt revolver

75. Akron                  Akron, OH             8/7/11   -                                                              -                                   -                                      No z

76. Forum Roller World     Grand Prairie, TX    7/23/11   -                                                              -                                   -                                      No aa
                                                          GLOCK 9mm semiautomatic pistol (unknown model)
                                                                                                                         -
77. Grand Rapids           Grand Rapids, MI      7/7/11   equipped with a 30-round large capacity ammunition                                                 -                                      No
                                                          magazine.
78. Family law practice    Yuma, AZ              6/2/11   -                                                              -                                   -                                      -

                                                          GLOCK 19 9mm semiautomatic pistol equipped with a 33-
                                                          round large capacity ammunition magazine. Loughner was
                                                          also carrying two 15-round large capacity ammunition
                                                                                                                         9mm Glock 19 semiautomatic
79. Tucson                 Tucson, AZ            1/8/11   magazines, and a knife. The ATF determined Loughner legally                                        9mm glock 19 pistol                    No
                                                                                                                         handgun
                                                          purchased the GLOCK pistol with an extended magazine and
                                                          one box of Winchester ammunition on November 30, 2010,
                                                          from Sportsman's Warehouse in Tucson.

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                 Case               Location       Date                     Citizens Crime Commission                                Mother Jones                    Washington Post            Weapon?

                  (1)                  (2)          (3)                                   (4)                                               (5)                              (6)                   (7)

80. Jackson                     Jackson, KY        9/11/10   -                                                               -                               -                                    No ab
81. City Grill                  Buffalo, NY        8/14/10   -                                                               -                               9mm pistol                           No
                                                             Two Ruger SR9 9mm semiautomatic pistols equipped with 17-
                                                                                                                             Two 9mm Ruger SR9
82. Hartford Beer Distributor   Manchester, CT      8/3/10   round magazines. Thornton purchased both firearms legally                                       9mm Ruger SR9 pistol (2)             No
                                                                                                                             semiautomatic handguns
                                                             from an East Windsor, CT gun dealer.
                                                                                                                             -
83. Yoyito Café                 Hialeah, FL         6/6/10   -                                                                                               .45-caliber Glock pistol             No ac

84. Hot Spot Café               Los Angeles, CA     4/3/10   -                                                               -                               -                                    No ad
                                                                                                                             9mm Glock 17 semiautomatic
                                                                                                                                                             .38-caliber Smith & Wesson
85. Coffee Shop Police          Parkland, WA      11/29/09   -                                                               handgun; .38-caliber Smith &                                         No
                                                                                                                                                             revolver; 9mm Glock 17 pistol
                                                                                                                             Wesson revolver
                                                             FN Herstal 5.7 Tactical Pistol equipped with 20-round large
                                                             capacity ammunition magazine. When Hasan was
                                                             apprehended, investigators found in his possession 177-rounds
                                                             in 30-round and 20-round large capacity ammunition              FN Five-seven semiautomatic
86. Fort Hood                   Fort Hood, TX      11/5/09                                                                                                   FN Five-seven pistol                 No
                                                             magazines, another handgun, a revolver, and two gunsights       handgun
                                                             (for different lighting conditions). Hasan purchased the FN
                                                             Herstal 5.7 Tactical Pistol legally at Guns Galore, a shop in
                                                             Killeen, TX
87. Worth Street                Mount Airy, NC     11/1/09   -                                                               -                               High-powered assault-style rifle     Yes
                                                             Beretta .45-caliber semiautomatic pistol, Beretta 9mm
                                                                                                                             9mm Beretta, .45-caliber
                                                             semiautomatic pistol (models unknown), and two 30-round                                         9mm Beretta pistol; .45-caliber
88. Binghamton                  Binghamton, NY      4/3/09                                                                   Springfield semiautomatic                                            No
                                                             large capacity ammunition magazines and two 15-round large                                      Springfield pistol
                                                                                                                             handguns
                                                             capacity ammunition magazines.
                                                                                                                                                             .357 magnum revolver;
                                                                                                                             Winchester 1300 pump-action
89. Carthage Nursing Home       Carthage, NC       3/29/09   -                                                                                               Winchester 1300 pump-action          No
                                                                                                                             shotgun; .357 Magnum revolver
                                                                                                                                                             shotgun
                                                                                                                                                             lever-action winchester rifle,
90. Skagit County               Alger, WA           9/2/08   -                                                               -                                                                    No
                                                                                                                                                             handgun
                                                                                                                             .45-caliber Hi-Point
91. Atlantis Plastics           Henderson, KY      6/25/08   -                                                                                               .45-caliber Hi-Point pistol          No
                                                                                                                             semiautomatic handgun
92. Black Road Auto             Santa Maria, CA    3/18/08   -                                                               -                               semiautomatic handgun                No




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                 (1)                    (2)           (3)                                    (4)                                               (5)                                (6)                     (7)

                                                               SIG SAUER Kurz 9mm semiautomatic pistol, Hi-Point CF380
                                                               .380 caliber semiautomatic pistol, GLOCK 19 9mm
                                                               semiautomatic pistol, Remington Sportsman 48 12-gauge
                                                                                                                                 9mm Glock 19, Hi-Point CF380,
                                                               shotgun, and 33-round and 15-round large capacity                                                  12-gauge Remington Sportsman
                                                                                                                                 9mm Kurz SIG Sauer P232
    Northern Illinois                                          ammunition magazines. Kazmierczak purchased all four                                               48 sawed-off shotgun; 9mm glock
93.                              DeKalb, IL          2/14/08                                                                     semiautomatic handguns; 12-                                             No ae
    University                                                 weapons from Tony's Gun & Ammo in Champaign, IL                                                    19 pistol; 9mm Kurz SIG Sauer
                                                                                                                                 gauge Remington Sportsman 48
                                                               between August 3, 2007 and February 9, 2008. Kazmierczak                                           P232 pistol; Hi-Point CF380 pistol
                                                                                                                                 sawed-off shotgun
                                                               also purchased gun accessories from a website operated by
                                                               TGSCOM, Inc., the same company patronized by the VA
                                                               Tech shooter.
                                                                                                                                 .40-caliber Smith & Wesson
                                                                                                                                                                  .40-caliber Smith & Wesson
                                                                                                                                 semiautomatic handgun; .44
94. Kirkwood City Council        Kirkwood, MO         2/7/08   -                                                                                                  pistol; .44 Magnum Smith &             No
                                                                                                                                 Magnum Smith & Wesson Model
                                                                                                                                                                  Wesson Model 29 revolver
                                                                                                                                 29 revolver
                                                                                                                                                                  A pistol, .223-caliber
      Youth With a Mission and   Colorado Springs,
95.                                                  12/9/07   -                                                                 -                                Bushmaster XM16 rifle, .40-            Yes
      New Life Church            CO
                                                                                                                                                                  caliber Beretta pistol
                                                               WASR-10 semiautomatic assault rifle and two 30-round              WASR-10 Century Arms             WASR-10 Century Arms
96. Westroads Mall               Omaha, NE           12/5/07                                                                                                                                             Yes af
                                                               large capacity ammunition magazines.                              semiautomatic rifle              semiautomatic rifle
97. Crandon                      Crandon, WI         10/7/07   -                                                                 AR-15 SWAT semiautomatic rifle   AR-15-style semiautomatic rifle        -      ag


                                                               GLOCK 19 9mm semiautomatic pistol and Walther P22 .22-
                                                               caliber semiautomatic pistol. Investigators found a total of 17
                                                               empty magazines at the scene of the shooting, a mix of several
                                                               15-round, and 10-round magazines loaded with hollow-point
                                                               rounds (bullets with the tip hollowed out, designed to expand
                                                               upon impact). He possessed over 400 rounds of ammunition.
                                                               Cho ordered the Walther P22 from a website operated by
                                                               TGSCOM, Inc. Kazmierczak patronized the same company
                                                               before the NIU shooting. On February 9, 2007, Cho picked up       9mm Glock 19, .22-caliber
                                                                                                                                                                  .22-caliber Walther P22 pistol;
98. Virginia Tech                Blacksburg, VA      4/16/07   the pistol from J-N-D Pawn-brokers, located across the street     Walther P22 semiautomatic                                               No
                                                                                                                                                                  9mm Glock 19 pistol
                                                               from the VA Tech campus. In compliance with the state law         handguns
                                                               limiting handgun purchases to one every 30 days, Cho
                                                               purchased the GLOCK 19 on March 13, 2007. He also
                                                               purchased five 10-round magazines from eBay in March.
                                                               Cho's purchase of these firearms was in violation of federal
                                                               law; he was disqualified from purchasing or possessing a
                                                               firearm and ammunition, because a special justice of the
                                                               Montgomery County General District Court had found him to
                                                               be a danger to himself on December 14, 2005.



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                    (1)                (2)             (3)                                 (4)                                            (5)                                  (6)                    (7)

                                                                                                                           Mossberg Maverick 88 Field          .38-caliber Smith & Wesson M36
 99. Trolley Square             Salt Lake City, UT    2/12/07   -                                                          shotgun; .38-caliber Smith &        revolver; Mossberg Maverick 88        No
                                                                                                                           Wesson M36 revolver                 Field shotgun
                                                                                                                           Springfield semiautomatic           12-gauge Browning pump-action
                                Lancaster County,                                                                          handgun; .30-06 Ruger bolt-action   shotgun; .30-06 Ruger bolt-action
100. Amish School                                     10/2/06   -                                                                                                                                    No ah
                                PA                                                                                         rifle; 12-gauge Browning pump-      rifle; Springfield 9mm
                                                                                                                           action shotgun                      semiautomatic handgun
       The Ministry of Jesus
101.                            Baton Rouge, LA       5/21/06   -                                                          -                                   -                                     No ai
       Christ
                                                                                                                           .40-caliber Ruger, one other
                                                                                                                           semiautomatic handgun;
                                                                                                                           Bushmaster XM15 E2S                 12-gauge pump-action Winchester
102. Capitol Hill               Seattle, WA           3/25/06   -                                                          semiautomatic rifle; 12-gauge       Defender shotgun; .40-caliber         Yes aj
                                                                                                                           Winchester Defender pump-action     Ruger pistol
                                                                                                                           shotgun with extended tube and
                                                                                                                           pistol grip
                                                                Smith & Wesson 915 9mm semiautomatic handgun equipped
                                                                with a 15-round large capacity ammunition magazine. San    9mm Smith & Wesson 915
103. Goleta Postal              Goleta, CA            1/30/06                                                                                                  9mm Smith & Wesson 915 pistol         No
                                                                Marco purchased the firearm at a pawn shop in New Mexico   semiautomatic handgun
                                                                in August 2005.
                                                                                                                                                               9mm semiautomatic pistol, .38-
104. Sash Assembly of God       Sash, TX              8/29/05   -                                                          -                                                                         No
                                                                                                                                                               caliber revolver
                                                                                                                           .40-caliber Glock 23, .22-caliber
                                                                                                                                                               .22-caliber Ruger pistol (2); 12-
105. Red Lake                   Red Lake, MN          3/21/05   -                                                          Ruger semiautomatic handguns;                                             No
                                                                                                                                                               gauge Remington 870 shotgun
                                                                                                                           12-gauge Remington 870 shotgun
                                                                                                                           9mm Beretta semiautomatic
106. Living Church of God       Brookfield, WI        3/12/05   -                                                                                              9mm beretta pistol                    No
                                                                                                                           handgun
107. Fulton County Courthouse   Atlanta, GA           3/11/05   -                                                          -                                   9mm pistol                            No
                                                                                                                           9mm Beretta 92FS semiautomatic
108. Damageplan Show            Columbus, OH          12/8/04   -                                                                                              9mm beretta 92FS pistol               No
                                                                                                                           handgun
                                                                SKS 7.62mm semiautomatic assault rifle equipped with a     -                                   7.62mm SKS semiautomatic
109. Hunting Camp               Meteor, WI           11/21/04                                                                                                                                        Yes ak
                                                                20-round large capacity ammunition magazine.                                                   rifle
110. ConAgra Foods Plant        Kansas City, KS        7/3/04   -                                                          -                                   9mm pistol, revolver                  No
111. Stateline Tavern           Oldtown, ID          10/24/03   -                                                          -                                   semiautomatic pistol                  No
                                                                                                                           -
112. Windy City Warehouse       Chicago, IL           8/27/03   -                                                                                              .38-caliber Walther pistol            No al




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                  Case             Location        Date                     Citizens Crime Commission                                 Mother Jones                      Washington Post               Weapon?

                   (1)                (2)           (3)                                   (4)                                               (5)                                  (6)                     (7)


                                                                                                                             .45-caliber Ruger P90
                                                                                                                             semiautomatic handgun; .22-
                                                                                                                                                                 .223-caliber Ruger Mini-14 rifle;
                                                                                                                             caliber rifle with scope, .223-
113. Lockheed Martin           Meridian, MS         7/8/03   -                                                                                                   12-gauge Winchester 1300               No am
                                                                                                                             caliber Ruger Mini-14 rifle; 12-
                                                                                                                                                                 shotgun
                                                                                                                             gauge Winchester 1300 shotgun;
                                                                                                                             .22 Magnum derringer

114. Labor Ready               Huntsville, AL      2/25/03   -                                                               -                                   semiautomatic 9mm pistol               No
                                                                                                                                                                 .22-caliber rifle, sawed-off
115. Bertrand Products         South Bend, IN      3/22/02   -                                                               -                                                                          No
                                                                                                                                                                 shotgun
       Burns International                                                                                                                                       AK-47-type semiautomatic rifle,
116.                           Sacramento, CA      9/10/01   -                                                               -                                                                          Yes an
       Security                                                                                                                                                  9mm pistol
117. Bookcliff RV Park         Rifle, CO            7/3/01   -                                                               -                                   .38 caliber Charter Arms revolver      No
                                                                                                                             SKS 1954R, .30-caliber              12-gauge Remington pump-action
                                                                                                                             Winchester rifles; 12-gauge         shotgun; SKS 1954R rifle; .30-
118. Navistar                  Melrose Park, IL     2/5/01   -                                                                                                                                          No ao
                                                                                                                             Remington pump-action shotgun;      caliber Winchester rifle; .38-
                                                                                                                             .38-caliber revolver                caliber revolver;
119. Houston                   Houston, TX          1/9/01   -                                                               -                                   -                                      No ap
                                                                                                                             .32-caliber Retolaza
                                                             AK-47-type semiautomatic assault rifle, unknown make                                                .32-caliber Retolaza pistol; AK-47
                                                                                                                             semiautomatic handgun; AK-47
                                                             and model 12-gauge shotgun, unknown make and model .32-                                             variant semiautomatic rifle; 12-              aq
120. Wakefield                 Wakefield, MA      12/26/00                                                                   variant semiautomatic rifle; 12-                                           -
                                                             caliber semiautomatic pistol, and 60-round large capacity                                           gauge Winchester 1300 pump-
                                                                                                                             gauge Winchester 1300 pump-
                                                             ammunition magazine.                                                                                action shotgun
                                                                                                                             action shotgun
121. Mount Lebanon             Pittsburgh, PA      4/28/00   -                                                               -                                   .357 Magnum revolver                   No
122. Mi-T-Fine Car Wash        Irving, TX          3/20/00   -                                                               -                                   semiautomatic .9mm pistol              No
                                                                                                                             9mm Lorcin semiautomatic
                                                                                                                                                                 .38-caliber Charter Arms revolver;
123. Hotel                     Tampa, FL          12/30/99   -                                                               handgun; .38-caliber Charter Arms                                          No
                                                                                                                                                                 9mm Lorcin pistol
                                                                                                                             revolver
                                                             GLOCK 17 9mm semiautomatic pistol and three 17-round
                                                             large capacity ammunition magazines, loaded with hollow
                                                                                                                             9mm Glock 17 semiautomatic
124. Xerox                     Honolulu, HI        11/2/99   point bullets (bullets with the tip hollowed out, designed to                                       9mm Glock 17 pistol                    No
                                                                                                                             handgun
                                                             expand upon impact). Uyesugi legally purchased the GLOCK
                                                             in 1989.
                                                             Ruger P85 9mm semiautomatic pistol, unknown make and
                                                             model .380 caliber semiautomatic pistol, and three 15-round
                                                                                                                             .380-caliber, 9mm Ruger P85         .380-caliber revolver; 9mm Ruger
125. Wedgwood Baptist Church   Fort Worth, TX      9/15/99   large capacity ammunition magazines. Ashbrook legally                                                                                      No
                                                                                                                             semiautomatic handguns              P85 pistol
                                                             acquired both weapons from federally licensed firearms
                                                             dealers in 1992.


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                 Case                Location      Date                      Citizens Crime Commission                                   Mother Jones                      Washington Post                Weapon?

                  (1)                    (2)        (3)                                    (4)                                                  (5)                                 (6)                      (7)


                                                                                                                                .45-caliber Colt 1911-A1, 9mm       .45-caliber Colt 1911-A1 pistol;
                                                                                                                                Glock 17, .25-caliber Raven Arms    .22-caliber Harrington &
126. Atlanta Day Trading         Atlanta, GA       7/29/99   -                                                                  MP-25 semiautomatic handguns;       Richardson revolver; .25-caliber        No
                                                                                                                                .22-caliber Harrington &            Raven Arms Mp-25 pistol; 9mm
                                                                                                                                Richardson revolver                 Glock 17 pistol

127. Albertson's Supermarket     Las Vegas, NV      6/3/99   -                                                                  -                                   12-gauge pump-action shotgun            No

                                                             Savage Springfield 67H 12-gauge pump-action shotgun,
                                                             Savage Stevens 311D 12-gauge sawedoff shotgun, Hi-Point
                                                             995 9mm semiautomatic rifle, INTRATEC TEC-DC9
                                                             9mm semiautomatic pistol, and thirteen 10-round magazines,         9mm Intratec DC-9
                                                                                                                                                                    9mm Hi-Point 995 carbine; 12-
                                                             one 52-, one 32-, one 28-round large capacity ammunition           semiautomatic handgun; 9mm
                                                                                                                                                                    gauge sawed-off Savage Stevens
                                                             magazines. Harris and Klebold illegally acquired the shotguns      Hi-Point 995 carbine rifle; 12-
                                                                                                                                                                    311D shotgun; 12-gauge sawed-
128. Columbine High School       Littleton, CO     4/20/99   and Hi- Point rifle through a "straw purchase" (a transaction in   gauge sawed-off Savage Stevens                                              Yes ar
                                                                                                                                                                    off Savage Springfield 67H pump-
                                                             which a legal buyer makes a purchase for someone who               311D, 12-gauge sawed-off Savage
                                                                                                                                                                    action shotgun; 9mm Intratec DC-
                                                             cannot legally purchase the firearm). Their friend, Robyn          Springfield 67H pump-action
                                                                                                                                                                    9 machine pistol
                                                             Anderson, purchased the three firearms at the Tanner Gun           shotguns
                                                             Show from unlicensed sellers in December of 1998. A pizza
                                                             shop employee, Mark Manes, illegally sold them the
                                                             INTRATEC TEC-DC9.

       New St. John Fellowship
129.                             Gonzalez, LA      3/10/99   -                                                                  -                                   semiautomatic pistol                    No
       Baptist Church

                                                             GLOCK 19 9mm semiautomatic pistol, Ruger (unknown
                                                             model) .22-caliber semiautomatic pistol, Ruger (unknown            9mm Glock, .22-caliber Ruger        9mm Glock pistol; .22-caliber
130. Thurston High School        Springfield, OR   5/21/98   model) .22-caliber rifle, and a 50-round large capacity            semiautomatic handguns, .22-        Ruger pistol; .22-caliber Ruger         No as
                                                             ammunition magazine. The GLOCK and rifle were legally              caliber Ruger rifle                 rifle
                                                             purchased by Kinkel's father.
                                                                                                                                FIE 380, .380-caliber Star
                                                                                                                                semiautomatic handguns; .44
                                                             Universal M1 Carbine .30-caliber replica, Davis Industries .38-                                        .22-caliber Double Deuce
                                                                                                                                Magnum Ruger, .30-06
                                                             caliber two-shot derringer, Double Deuce Buddie .22-caliber                                            revolver; .380-caliber Star pistol;
                                                                                                                                Remington 742, .30-caliber
                                                             two-shot derringer, Charter Arms .38-caliber revolver, Star                                            .357-caliber Ruger Security six
                                                                                                                                Universal M-1 carbine replica
                                                             .380-caliber pistol, FIE .380-caliber pistol, Ruger Security Six                                       revolver; .44 Magnum Ruger
                                                                                                                                rifles; .38-caliber Charter Arms,
131. Westside Middle School      Jonesboro, AR     3/24/98   .357-caliber revolver,                                                                                 revolver; .30-caliber Universal M-      No at
                                                                                                                                .357-caliber Ruger Security Six,
                                                             Ruger .44 magnum rifle, Smith & Wesson .38-caliber                                                     1 carbine; .38-caliber Charter
                                                                                                                                .38-caliber Smith & Wesson
                                                             revolver, Remington 742 .30-06-caliber rifle, 15-round large                                           Arms revolver; .38-caliber Smith
                                                                                                                                revolvers; .22-caliber Double
                                                             capacity ammunition magazines, three 30-round large capacity                                           & Wesson revolver; FIE 380
                                                                                                                                Deuce Buddie two-shot, .38-
                                                             ammunition magazines, and over 150-rounds of ammunition.                                               pistol; .30-06 Remington 742 rifle
                                                                                                                                caliber Davis Industries two-shot
                                                                                                                                derringers

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                                                                                                                        Weapon Description From                                                      Assault
                                                                                                              a                                           b                                c                   d
                Case                 Location          Date                     Citizens Crime Commission                                  Mother Jones                   Washington Post           Weapon?

                    (1)                  (2)            (3)                                   (4)                                                (5)                               (6)                 (7)


                                                                 GLOCK model unknown 9mm semiautomatic pistol equipped
132. Connecticut Lottery         Newington, CT          3/6/98   with a 19-round large capacity ammunition magazine. Beck         9mm semiautomatic handgun       9mm pistol                          No
                                                                 had a permit for the 9mm pistol used in the shooting.

                                                                 Chinese-made AK-47-type 7.62mm semiautomatic assault
                                                                 rifle and five 30-round large capacity ammunition magazines.     7.62mm AK-47 Chinese variant    7.62mm AK-47 Chinese variant
133. Caltrans Maintenance Yard   Orange, CA           12/18/97                                                                                                                                        Yes
                                                                 Torres legally purchased the rifle on April 30, 1988, from       semiautomatic rifle             semiautomatic rifle
                                                                 B&B Gun Sales in Orange County, CA.

134. Erie Manufacturing          Bartow, FL            12/3/97   -                                                                -                               -                                   No au
135. R.E. Phelon Company         Aiken, SC             9/15/97   -                                                                9mm semiautomatic handgun       9mm pistol                          No
136. News and Sentinel           Colebrook, NH         8/20/97   -                                                                -                               9mm pistol, AR-15-style rifle       Yes av
                                                                                                                                                                  Mac 11 machine pistol, Tec 9
137. Fire Station                Jackson, MS           4/25/96   -                                                                -                               automatic pistol, .45-caliber       No
                                                                                                                                                                  semiautomatic handgun
                                 Fort Lauderdale,                                                                                 9mm Glock semiautomatic         9mm Glock pistol; .32-caliber
138. Fort Lauderdale                                    2/9/96   -                                                                                                                                    No
                                 FL                                                                                               handgun; .32-caliber revolver   revolver
139. Little Chester Shoes        New York, NY         12/19/95   -                                                                -                               .9mm semiautomatic pistol           No
                                                                                                                                  -
140. Piper Technical Center      Los Angeles, CA       7/19/95   -                                                                                                Glock semiautomatic pistol          No aw
                                                                                                                                  9mm Ruger semiautomatic         .32-caliber revolver; 9mm Ruger
141. Walter Rossler Company      Corpus Christi, TX     4/3/95   -                                                                                                                                    No
                                                                                                                                  handgun; .32-caliber revolver   pistol
142. Puppy creek                 Hoke County, NC      12/31/94   -                                                                -                               -                                   -

                                                                 Chinese-made Mak-90 semiautomatic assault rifle
                                                                 equipped with a 75-round drum large capacity ammunition
                                 Fairchild Base,                 magazine. He purchased the assault rifle on June 15, 1994,                                       MAK-90 semiautomatic AK-
143. Air Force Base                                    6/20/94                                                                    MAK-90 semiautomatic rifle                                          Yes ax
                                 WA                              five days before the shooting, and the following day purchased                                   style rifle
                                                                 80 rounds of 7.62x39mm ammunition and a 75-round drum
                                                                 large capacity ammunition magazine.
                                                                                                                                  .25-caliber semiautomatic
144. Chuck E. Cheese             Aurora, CO           12/14/93   -                                                                                                .25-caliber pistol                  No
                                                                                                                                  handgun
                                                                 Ruger P89 9mm semiautomatic pistol and four 15-round large
                                                                                                                                  9mm Ruger P89 semiautomatic
145. Long Island Railroad        Garden City, NY       12/7/93   capacity ammunition magazines. Ferguson legally acquired the                                     9mm Ruger P89 pistol                No
                                                                                                                                  handgun
                                                                 weapon in California at an outlet of Turner's Outdoorsman.

146. Unemployment Office         Oxnard, CA            12/2/93   -                                                                -                               Rifle                               -
147. Family Fitness Club         El Cajon, CA         10/14/93   -                                                                -                               12-gauge shotgun                    No

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                   Case          Location         Date                    Citizens Crime Commission                               Mother Jones                      Washington Post             Weapon?

                   (1)               (2)           (3)                                  (4)                                              (5)                                (6)                    (7)

                                                                                                                         .22-caliber rifle; two 12-gauge    12-gauge shotgun (2); .22-caliber
148. Luigi's Restaurant      Fayetteville, NC      8/6/93   -                                                                                                                                     No ay
                                                                                                                         shotguns                           rifle
149. Washington County Bar   Jackson, MS           7/8/93   -                                                            -                                  -                                     -

                                                            Two INTRATEC TEC-DC9 semiautomatic pistols, Colt
                                                            (unknown model) .45-caliber semiautomatic pistol, and 40-
                                                            round and 50-round large capacity ammunition magazines
                                                                                                                         Two Intratec DC-9, .45-caliber     .45-caliber Colt pistol; Intratec
150. 101 California Street   San Francisco, CA     7/1/93   loaded with a mix of Black Talon and standard ammunition.                                                                             Yes az
                                                                                                                         Colt semiautomatic handguns        DC-9 machine pistols
                                                            According to the Las Vegas Metropolitan Police Department,
                                                            Ferri purchased the pistols from two stores in Las Vegas:
                                                            Super Pawn and Pacific Tactical Weapons.

151. Card club               Paso Robles, CA      11/8/92   -                                                            -                                  -                                     No ba
                                                                                                                         9mm Llama semiautomatic
152. Watkins Glen            Watkins Glen, NY    10/15/92   -                                                                                               9mm Llama pistol                      No
                                                                                                                         handgun
                                                                                                                         .22-caliber sawed-off rifle; 12-   .22-caliber sawed-off rifle; 12-
153. Lindhurst High School   Olivehurst, CA        5/1/92   -                                                                                                                                     No bb
                                                                                                                         gauge pump-action shotgun          gauge pump-action shotgun
154. Phoenix                 Phoenix, AZ          3/15/92   -                                                            -                                  -                                     -
                                                                                                                         .22-caliber Ruger sawed-off        .22-caliber Ruger sawed-off
155. Royal Oak Postal        Royal Oak, MI       11/14/91   -                                                                                                                                     No bc
                                                                                                                         semiautomatic rifle                semiautomatic rifle
156. Restaurant              Harrodsburg, KY     11/10/91   -                                                            -                                  .357 Magnum                           No
157. University of Iowa      Iowa City, IA        11/1/91   -                                                            .38-caliber Taurus revolver        .38-caliber Taurus revolver           No
                                                            GLOCK 17 9mm semiautomatic pistol, Ruger P89
                                                            semiautomatic pistol, and 17-round and 15- round large
                                                                                                                         9mm Glock 17, 9mm Ruger P89        9mm Glock 17 pistol; 9mm Ruger
158. Luby's Cafeteria        Killeen, TX         10/16/91   capacity ammunition magazines. Hennard legally purchased                                                                              No
                                                                                                                         semiautomatic handguns             P89 pistol
                                                            the weapons from Mike's Gun Shop in Henderson, NV, in
                                                            February and March of 1991.
                                                                                                                                                            9mm Uzi machine pistol, .22-
159. Post office             Ridgewood, NJ       10/10/91   -                                                            -                                                                        Yes br
                                                                                                                                                            caliber machine gun
                                                            Universal M1 .30-caliber semiautomatic assault rifle,
                                                                                                                         .30-caliber Universal M1 carbine   .30-caliber Universal M1 carbine;
160. GMAC                    Jacksonville, FL     6/18/90   unknown make and model .38-caliber revolver, and a 30-                                                                                No bd
                                                                                                                         rifle; .38-caliber revolver        .38-caliber revolver
                                                            round large capacity ammunition magazine.
                                                            Chinese-made AK-47-type semiautomatic assault rifle,
                                                            two INTRATEC MAC-11 semiautomatic assault pistols, SIG       Two Intratec MAC-11, 9mm SIG       9mm SIG Sauer pistol; AK-47
                                                            SAUER unknown model 9mm semiautomatic pistol, unknown        Sauer semiautomatic handguns;      Chinese variant semiautomatic
       Standard Gravure
161.                         Louisville, KY       9/14/89   make and model .38-caliber revolver, and 30-round large      AK-47 Chinese variant              rifle; Intratec MAC-11 machine        Yes
       Corporation
                                                            capacity ammunition magazines. Wesbecker legally purchased   semiautomatic rifle; .38-caliber   pistol; .38-caliber revolver; 9mm
                                                            the AK-47-type assault rifle from Tilford's Gun Sales in     revolver                           SIG Sauer pistol
                                                            Louisville.


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                  Case              Location        Date                     Citizens Crime Commission                                 Mother Jones                       Washington Post              Weapon?

                   (1)                  (2)          (3)                                  (4)                                                 (5)                                     (6)                 (7)


                                                              Chinese-made AK-47-type semiautomatic assault rifle,
                                                              Taurus unknown model 9mm semiautomatic pistol, a 75-round
                                                              large capacity ammunition drum magazine, a 75-round large
                                                              capacity ammunition rotary magazine, and four 35-round large    9mm Taurus semiautomatic            9mm Taurus pistol; AK-47
162. Stockton Schoolyard        Stockton, CA        1/17/89   capacity ammunition banana magazines. Purdy legally             handgun; AK-47 Chinese variant      Chinese variant semiautomatic          Yes
                                                              purchased the AK-47-type rifle at Sandy Trading Post, in        semiautomatic rifle                 rifle
                                                              Sandy, OR on August 3, 1988, and the Taurus 9mm pistol at
                                                              Hunter Loan and Jewelry Co. in Stockton, CA on December
                                                              28, 1988.

163. Montefiore School          Chicago, IL         9/22/88   -                                                               -                                   .38-caliber revolver                   No
                                Winston-Salem,
164. Old Salisbury Road                             7/17/88   -                                                               -                                   .22-caliber rifle                      No
                                NC
                                                                                                                              .380 ACP Browning, 9mm Smith        .22 Sentinel WMR revolver; 9mm
                                                                                                                              & Wesson semiautomatic              Smith & Wesson pistol; Mossberg
                                                                                                                              handguns; Ruger M-77 .22-250        12-gauge pump-action shotgun;
                                                                                                                              bolt-action rifle with scope;       Ruger M-77 .22-250 bolt-action
165. ESL                        Sunnyvale, CA       2/16/88   -                                                               Mossberg 12-gauge pump-action,      rifle with scope; .380 AP              No be
                                                                                                                              12-gauge Benelli semiautomatic      Browning pistol; 12-gauge Benelli
                                                                                                                              shotguns; .357 Magnum Smith &       semiautomatic shotgun; .357
                                                                                                                              Wesson, .22 Sentinel WMR            Magnum Smith & Wesson
                                                                                                                              revolvers                           revolver;

                                                              Strum, Ruger Mini-14 semiautomatic assault rifle equipped
                                                              with a 30-round large capacity ammunition magazine, five 30-
                                                              round large capacity ammunition magazines, 180 rounds of        Sturm, Ruger Mini-14                .357 Ruger Blackhawk revolver;
                                                              ammunition, a shotgun (unknown make and model), and a           semiautomatic rifle; 20-gauge       Ruger Mini-14 semiautomatic
166. Shopping Centers           Palm Bay, FL        4/23/87                                                                                                                                              No bf
                                                              pistol (unknown make and model). Cruse ordered the assault      Winchester pump-action shotgun;     rifle; Sturm; 20-gauge Winchester
                                                              rifle on March 21, 1987. On April 17, 1987, he purchased 100-   .357 Ruger Blackhawk revolver       pump-action
                                                              rounds of ammunition and six 30-round large capacity
                                                              ammunition magazines.

                                                                                                                              .22-caliber, two .45-caliber Colt   .45-caliber Colt Model 1911-A1
       United States Postal                                                                                                                                                                                     bg
167.                            Edmond, OK          8/20/86   -                                                               Model 1911-A1 semiautomatic         pistol; .45-caliber Colt Model         -
       Service
                                                                                                                              handguns                            1911-A1 pistol; .22-caliber pistol

       Anchor Glass Container   South
168.                                                3/16/85   -                                                               -                                   .38-caliber snub-nosed revolver        No
       Corporation              Connellsville, PA

169. Other Place Lounge         Hot Springs, AR     7/24/84   -                                                               -                                   .45-caliber semiautomatic pistol       No



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                   (1)                        (2)               (3)                                   (4)                                            (5)                                  (6)                       (7)


                                                                                                                                     9mm Browning P35 Hi-Power
                                                                                                                                                                         9mm Israeli Military industries
                                                                                                                                     semiautomatic handgun; 9mm
                                                                                                                                                                         Uzi Model A machine pistol, 12-
                                                                                                                                     Israeli Military Industries Uzi
170. San Ysidro McDonald's            San Ysidro, CA          7/18/84    -                                                                                               gauge Winchester 1200 pump-               Yes
                                                                                                                                     Model A carbine semiautomatic
                                                                                                                                                                         action shotgun, 9mm Browning
                                                                                                                                     rifle; 12-gauge Winchester 1200
                                                                                                                                                                         P35 Hi-Power pistol
                                                                                                                                     pump-action shotgun
                                                                                                                                     9mm Smith & Wesson 459
171. Dallas Nightclub                 Dallas, TX              6/29/84    -                                                                                               9mm Smith & Wasson 459 pistol             No bh
                                                                                                                                     semiautomatic handgun
                                      Manley Hot                                                                                                                         .30-06-caliber Ruger single-shot
172. Alaska Mining Town                                       5/17/84    -                                                           -                                                                             No
                                      Springs, AK                                                                                                                        rifle
173. College Station                  Collge Station, TX    10/11/83     -                                                           -                                   -                                         No bi
                                                                                                                                                                         .223-caliber Ruger Mini-14
174. Alaska Back-County               McCarthy, AK             3/1/83    -                                                           -                                   semiautomatic rifle, .22-caliber          No
                                                                                                                                                                         pistol
175. Upper West Side Hotel            New York, NY             2/3/83    -                                                           -                                   -                                         No bj

176. The Investor                     Noyes Island, AK         9/6/82    -                                                           -                                   .22-caliber                               No
                                                                                                                                     Mossberg 500 Persuader pump-
177. Welding Shop                     Miami, FL               8/20/82    -                                                                                               12-gauge shotgun                          No
                                                                                                                                     action shotgun with pistol grip
                                                                                                                                                                         .38-caliber revolver, .25-caliber
178. Western Transfer Co.             Grand Prairie, TX        8/9/82    -                                                           -                                                                             No
                                                                                                                                                                         semiautomatic pistol, carbine rifle

179. Russian Jack Springs Park        Anchorage, AK            5/3/82    -                                                           -                                   .38-caliber pistol                        No


 Notes and Sources:
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                  (1)                         (2)              (3)                                       (4)                                             (5)                                   (6)                          (7)


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                                                                                              Exhibit C
                                                                            List of Firearms Used in Public Mass Shootings
                                                                                           1982 – Oct. 2022
                                                                                                                                    Weapon Description From                                                          Assault
                                                                                                                          a                                           b                               c                        d
                 Case                      Location             Date                       Citizens Crime Commission                                   Mother Jones                 Washington Post                Weapon?

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